                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA


KENNETH PETERSON, RICHARD
KIMBLE, SHARON DAWSON-GREEN,
LISA MELEGARI, CINDY                  Case No. 0:19-cv-01129-JRT-HB
ABERNATHY, ANDREW COHEN,
MARCELO LOPEZ, TANYA LEWIS,
NICOLE GUTIERREZ, SHARON
KILLMON, KAREN CARTER, CHARLIE
MORGAN, BRENT RASMUSSEN, APRIL
O’CONNOR, KENT WINCHESTER,            SECOND AMENDED CLASS
BRENDA KING, CHOR LONG,               ACTION COMPLAINT
MICHELLE OVERSEN, WILLIAM GEE,
and JACQUELYN WATSON.

                        Plaintiffs,

           v.                         DEMAND FOR JURY TRIAL

JBS USA FOOD COMPANY HOLDINGS,
TYSON FOODS, INC., CARGILL, INC.,
and NATIONAL BEEF PACKING
COMPANY,

                      Defendants.




544430.1
                                             TABLE OF CONTENTS
                                                                                                                                    Page

I.     NATURE OF ACTION .................................................................................................. 1

II.    JURISDICTION AND VENUE ................................................................................... 14

III.   PARTIES ...................................................................................................................... 16

       A.         Plaintiffs ............................................................................................................ 16

       B.         Defendants ........................................................................................................ 20

IV.    THE MEATPACKING DEFENDANTS CONSPIRED TO ELEVATE THEIR
       MARGINS BY DEPRESSING THE PRICE THAT THEY PAID TO ACQUIRE
       CATTLE ....................................................................................................................... 21

       A.         Industry Background ......................................................................................... 22

       B.         The Meatpacking Defendants coordinated to reduce output, elevate their
                  margins, and suppress the prices paid to beef farmers...................................... 25

                  1.         The Meatpacking Defendants agreed to reduce their slaughter numbers
                             so as to reduce beef output. ................................................................... 26

                  2.         The Meatpacking Defendants agreed to reduce slaughter capacity by
                             closing or idling slaughter plants .......................................................... 31

                  3.         The Meatpacking Defendants agreed to limit their purchase of cash
                             cattle. ..................................................................................................... 35

                  4.         The Meatpacking Defendants coordinated their procurement operations
                             for cash-cattle purchases. ...................................................................... 38

                  5.         The Meatpacking Defendants continued to import foreign cattle after it
                             became uneconomical for them to do so............................................... 43

V.     THE MEATPACKING DEFENDANTS REPORTED RECORD MARGINS AFTER
       THE START OF THEIR COLLUSIVE ACTIVITY ................................................... 45

       A.         The Meatpacking Defendants’ scheme began to impact prices in 2015. .......... 45

       B.         Prior to 2015, the profits for the Meatpacking Defendants were low. .............. 49

       C.         Starting in 2015, the margins for the Meatpacking Defendants soared. ........... 50

       D.         Tyson and JBS attributed their record 2017 & 2018 profits to their visibility
                  into the beef supply chain. ................................................................................ 52



                                                                -i-
        E.        After a recent plant closure, Tyson, JBS, Cargill, and National Beef drastically
                  decreased cattle prices, while increasing beef prices. ....................................... 54

VI.     THE STRUCTURE OF THE BEEF PACKER INDUSTRY IS CONDUCIVE TO
        THE CONSPIRACY .................................................................................................... 57

        A.        The beef meatpacking industry was highly concentrated. ................................ 57

        B.        The beef packer market featured high barriers to entry. ................................... 61

        C.        Beef is a commodity product. ........................................................................... 61

        D.        The beef meatpacking market featured unusual market share stability during
                  the relevant period............................................................................................. 62

        E.        The demand for beef is inelastic. ...................................................................... 64

        F.        Abnormal pricing during the Class Period demonstrates the success of the
                  collusive scheme. .............................................................................................. 65

        G.        Overcharges due to the cartel were passed through to the indirect purchaser
                  class. .................................................................................................................. 66

        H.        The elevation in processor margins during the Class Period is not explained by
                  changes in export levels or international demand for beef. .............................. 70

        I.        The Meatpacking Defendants had numerous trade organizations and
                  opportunities to meet and collude. .................................................................... 72

        J.        The Meatpacking Defendants have significant oversight of each other’s prices
                  and production decisions................................................................................... 74

        K.        The Meatpacking Defendants actively concealed the conspiracy. ................... 76

        L.        The Meatpacking Defendants’ conspiracy continues through the present. ...... 84

VII.    CLASS ACTION ALLEGATIONS ............................................................................. 85

VIII.   ANTITRUST INJURY ................................................................................................. 91

IX.     CAUSES OF ACTION ................................................................................................. 93

X.      REQUEST FOR RELIEF ........................................................................................... 152

XI.     JURY TRIAL DEMANDED ...................................................................................... 154




                                                                 - ii -
       Plaintiffs bring this action on behalf of themselves individually and on behalf of a

plaintiff class consisting of all persons and entities who purchased beef indirectly from a

defendant or co-conspirator for personal use in the United States from at least January 1,

2015 until the present (Class Period). Plaintiffs bring this action for injunctive relief under

Section 1 of the Sherman Act, and for treble damages under the antitrust laws, unfair

competition laws, consumer protection laws, and unjust enrichment common laws of the

several states against defendants, and demand a trial by jury.

                              I.     NATURE OF ACTION

       1.     The defendants in this case (at times referred to in this complaint as the

Meatpacking Defendants) are the largest meatpacking companies in the world and the

leading processors of approximately $100 billion in annual commerce in the retail beef

industry. These defendants entered into a conspiracy to maximize profits from the

distribution channel of beef—by both extracting all gains from the ranchers who raised the

cattle, as well as artificially inflating the price of beef being sold to the consumer. The

defendants engaged in a concerted scheme to suppress throughput of beef, artificially

depressing both the amount of cattle they purchased and the amount of processed beef they

sold to retail operations. The purpose of the scheme was to lower throughput of beef supply

and thus maximize the margins they received from sale of beef. The result of the scheme

was that the defendants underpaid the farmers by artificially depressing demand for cattle

and thus lowering press, and simultaneously overcharged consumers by reducing their

output of beef and thus inflating consumer prices.




                                            -1-
         2.     Defendants’ scheme was successful, in part, because of the structure of the

beef industry. The slaughter and packing of beef is an essential part of the beef supply

chain. A small number of meatpackers—the Meatpacking Defendants—control this crucial

step of the distribution chain. The Meatpacking Defendants purchase fed cattle from

farmers, process them into beef, and then sell the beef to retailers. Defendants and their co-

conspirators collectively control over 70 percent of the wholesale beef market.

         3.     An industry insider familiar with the operations of the Meatpacking

Defendants stated that the “beef industry is very unique.” According to insiders, much of

the business operations for the beef industry operate in a “gray area” and that “meat works

like the mafia.” The business operations of the Meatpacking Defendants are intertwined

because, due to vertical integration into various stages of the distribution stages of beef,

the Meatpacking Defendants frequently sell meat to each other which is then processed for

retail sale. The result is that “someone may be a competitor but also a customer.” Given

these frequent interactions, executives at companies in the Meatpacking Industry “all know

each other.”

         4.     The Meatpacking Defendants, Cargill, Inc., JBS USA, Tyson Foods, Inc.,

and National Beef Packing Company entered into a conspiracy from at least 2015 to the

present to fix, raise, maintain and stabilize the price of beef.1 Defendants collectively

purchase nearly 85% of the fed cattle market. The principal (but not exclusive) method by

which defendants implemented and executed their conspiracy was by coordinating on



   1
       For the purposes of this complaint, beef includes beef meat purchased fresh or frozen.

                                            -2-
collusive conduct that depressed the price, and thus future supply, of cattle that they

purchased while continuing to maintain an elevated price at which they sold beef to retail

operations. As alleged in this complaint, as long as they act in concert with one another,

the Meatpacking Defendants have a shared incentive to reduce the amount of beef that they

procure, because this artificial restriction on their collective demand for fed cattle will lead

to reduced prices that each one must pay for fed cattle. The Meatpacking Defendants

increase their profits by widening the spread between the price that they pay for cattle and

the price at which they sell beef. The basics of supply and demand mean that if there is less

beef produced by all Meatpacking Defendants because of their artificially lowered demand

for fed cattle, then there will be a higher price for beef sold to consumers and other

purchasers. The Meatpacking Defendants reap increased profits while both the cattle

ranchers and consumers are harmed.

       5.     Beginning in 2015, the beef market saw a marked change in pricing practices.

Before 2015, the prices of cattle and beef moved in tandem. This is a natural relationship

because beef is simply cattle that has been processed for sale. After 2015, and during the

conspiracy, this fundamental economic relationship was severed. From 2015 through 2018,

the price of cattle declined significantly while the price of beef remained elevated. As

starkly demonstrated in the following chart, around 2015, the price of live cattle declined

(the orange line), while the retail price being charged to consumers (the blue bars) remained

inflated, and unlike in prior years, almost completely unrelated to the price of live cattle:




                                            -3-
       6.     While the Meatpacking Defendants reaped billions of dollars in profits,

consumers suffered financial harm. In a functioning market, lower cattle prices would lead

to lower beef prices. But, as discussed below, the econometric evidence indicates the

Meatpacking Defendants agreed not to compete on the price of beef because during the

period of anticompetitive activity, beef prices became severed from underlying cattle

prices. Unlike the period prior to the conspiracy, at several points during the class period,

the relationship between cattle and beef prices actually inverted – with beef prices rising

even as cattle prices fell. Furthermore, the actions of the Defendants artificially reduced

demand for cattle, reducing future supply of cattle, and thus elevating prices of beef.. Prior

to the conspiracy, the U.S. Department of Justice (DOJ) recognized that when the beef

market is functioning competitively, there is a strong relationship between the supply of




                                            -4-
cattle and the price being charged to consumers (the pass-through of the overcharge). The

DOJ has stated that:

              [A]ll else being equal, when the meat packing industry reduces
              production levels, feedlots and cattle producers are paid less
              for fed cattle because fewer fed cattle are demanded and
              customers pay more for [beef] because less is available for
              purchase. Because the supply of fed cattle and demand for
              [beef] are relatively insensitive to short-term changes in price,
              even small changes in industry production levels can
              significantly affect packer profits.

In fact, as the United States pointed out in 2008, concern over anticompetitive conduct by

beef processors that harmed both cattle ranchers and beef consumers was a leading driver

for the initial passage of the Sherman Act.2

       7.     The anticompetitive actions of the defendants were successful in severing the

relationship between cattle and beef prices. As shown in the following chart, prior to the

conspiracy, cattle and beef prices were closely correlated to each other:




   2
      See Note by the United States, pg. 1 Roundtable on Monopsony and Buyer Power,
October 13, 2008 (“The 1890 debates in both houses of the United States Congress
demonstrated concern with the exercise of market power on both the buying and selling
sides of the market. Many legislators singled out large meat packers for condemnation, and
they were condemned as much for reducing the prices paid to cattle farmers as for raising
prices to consumers. In response, Congress passed the Sherman Act, “aimed at preserving
free and unfettered competition as the rule of trade.” “The Act is comprehensive in its terms
and coverage, protecting all who are made victims of the forbidden practices by whomever
they            may           be             perpetrated.”)           (available            at
https://www.ftc.gov/sites/default/files/attachments/us-submissions-oecd-and-other-
international-competition-fora/monopsony.pdf).

                                            -5-
       8.     After the start of the anticompetitive activity in 2015, the strong relationship

between cattle and beef prices disappeared as a result of the anticompetitive actions of the

defendants. This econometric evidence indicates an agreement among defendants not to

compete on price in the beef market. As shown in the following chart, cattle and beef prices

had almost no relationship to each other between January 2016 and February 2019:




                                           -6-
        9.    As shown in the below chart, during certain periods of time from 2015-2018,

the relationship between cattle and beef prices inverted. This is an expected economic

consequence of a conspiracy by the Meatpacking Defendants to reduce throughput—

artificially reducing both the supply of cattle they purchase and the supply of beef that they

sell to retail operations—because the supply reductions on both end of the beef supply

chain cause both a reduction in the number of cattle and an elevation in the retail price of

beef:




                                            -7-
        10.    Tyson, JBS, Cargill, and National Beef each engaged in periodic and parallel

slaughter reductions since 2015. As shown in the below chart,3 each Meatpacking

Defendant reduced its respective annual slaughter volume relative to the pre-Class Period

for which data exists. However, other U.S. beef packers—i.e., independent regional

packing businesses—increased their slaughter volume as a whole during the same time

period.




   3
       CBW Top 30 Beef Packers; 2017 Meat & Poultry Facts, at 11.

                                           -8-
                       Average Pre-2015 and Post-2015 Fed Cattle
                       Slaughter – Meatpacking Defendants vs. Others




        11.    The annual slaughter volumes for each Meatpacking Defendant was lower

for each year in the Class Period compared to their pre-2015 averages. The below chart4

shows the Meatpacking Defendants’ and the other U.S. beef packers’ annual slaughter

volumes pre-2015 and post-2015—but broken out by year for each year of the Class Period

for which data is available. Again, the below chart shows the Meatpacking Defendants’

annual slaughter volumes were lower than pre-2015 averages. And, although Tyson, JBS,

Cargill, and National Beef each increased its slaughter volume during the Class Period, the

below chart shows independent regional packing businesses had much higher rates of

slaughter volume increases during the same period.



   4
       CBW Top 30 Beef Packers; 2017 Meat & Poultry Facts, at 11.

                                          -9-
                      Average Pre-2015 and Post-2015 Fed Cattle
                      Slaughter – Meatpacking Defendants vs. Others




       12.    As shown in the above figures, each Defendant slashed its fed cattle slaughter

levels in 2015, and then maintained artificially low slaughter levels throughout the

remainder of the Class Period.

       13.    In any market, economic theory predicts it may be more profitable for an

industry to produce a smaller amount of output. There are two reasons for this: (1) the

industry is able to buy from the subset of suppliers who are able to tolerate lower prices,

and (2) the industry is able to sell their output to the subset of consumers that are able to

tolerate a higher price. Upstream producers and downstream consumers both lose out as

overall level of throughput is constricted – sellers are underpaid as if there were a glut,

while buyers pay a premium as if there were a shortage. The market may eventually adjust

to this situation, as suppliers go out of business and consumers learn to pay more or live



                                           - 10 -
with less, but the long-term effect is inevitably a smaller industry and a worse-off

consumer. Courts recognize such markets harm both producers, here, the cattle ranchers,

and the end user consumers, because they lead to higher consumer prices, suboptimal

output of the product, reduced product quality, and the substitution of less efficient

alternative products.5

         14.    The econometric data showing the suppression of cattle prices and the

maintenance of retail prices for beef from 2015 to the present is indicative of the same

underlying agreement to reduce throughput. Indeed, as the econometric evidence shows,

the defendant’s anti-competitive conspiracy to restrain beef output had consequences both

for cattle feeders and consumers. The sharp drop in the price of fed cattle from 2015

onwards reflects a pent-up supply of cows that packers were not slaughtering, while the

unexpectedly high retail price reflects a relative undersupply of beef in the consumer

market. By 2016, even though cattle prices had generally been pushed back down to pre-

2014/2015 levels, consumers were still paying inflated retail prices as if it were the height

of the cattle price spike. Because no packer was willing “break ranks” and increase

throughput, connecting the oversupply of fed cattle to the unmet consumer demand for

beef, the packer cartel was able to maintain its unprecedented margins.

         15.    Under competitive conditions, however, an industry is prevented from

intentionally restricting its production levels in this way because competitors will pick up

the slack. A company willing to operate at a tight margin can out-produce and undercut a



   5
       Been v. O.K. Indus., Inc., 495 F.3d 1217, 1232 (10th Cir. 2007).

                                            - 11 -
company that is not, bringing a larger quantity of less expensive goods to the benefit of

both consumers and suppliers. The degree to which competing companies can both agree

between themselves about the degree to which they will restrain their throughput, and the

degree to which all are able to verify that the others are holding to the agreement, is directly

proportional to their ability to keep margins high over a long period of time. In short,

information sharing regarding present and future plans is a critical ingredient for a

successful agreement between competitors to restrain throughput.

       16.    Following the collusive scheme by the Meatpacking Defendants to suppress

cattle prices, the operating margins of the beef packers steadily grew from 2016 to 2018.

By the end of 2018, Tyson and JBS, the two publicly traded beef packers, were reporting

record operating margins in their beef business. For example, in 2018, Tyson reported

operating margins for its beef business of 7 percent, now above its margin for poultry of 6

percent. Similarly, in the second quarter of 2018, JBS reported margins of 10.2 percent for

its beef business, significantly higher than its margin of 7.2 percent for its pork business.

       17.    Confidential witness accounts confirm the existence of the Meatpacking

Defendants’ collusive scheme. For example, a confidential witness previously employed

by a Meatpacking Defendant (“Witness 1”) has confirmed that Tyson, JBS, Cargill, and

National Beef each expressly agreed to periodically reduce its respective purchase and

slaughter volumes in order to reduce the prices they would otherwise pay for fed cattle

during the Class Period.

       18.    In addition, there are numerous “plus factors” in the beef industry during the

Class Period, including but not limited to multiple industry characteristics which facilitate

                                            - 12 -
collusion, such as high barriers to entry, high beef industry consolidation and

concentration, inelastic supply and demand, unusual market share stability, and a

homogenous product. These plus factors add plausibility to plaintiffs’ allegations of a price

fixing scheme.

       19.    Defendants’ coordination caused plaintiffs to pay artificially elevated prices

for beef. Beginning in 2015, the earnings of the Meatpacking Defendants began to increase,

as they took an increasing amount of the profits available in the beef industry. In the two

years between 2015 and 2017, the average farm value of cattle dropped by 29 percent from

its pre-2015 peak value. In contrast to earlier years, however, the relationship between

cattle prices and beef prices became severed, as the retail price of beef only dropped around

6 percent. As shown in the below chart, the beef packers have nearly doubled their share




                                           - 13 -
of revenues from consumer spending on beef over the relevant time period:




       20.    As a result of defendants’ unlawful conduct, plaintiffs and the classes paid

artificially inflated prices for beef during the Class Period. Such prices exceeded the

amount they would have paid if the price for beef had been determined by a competitive

market. Thus, plaintiffs and class members were injured by defendants’ conduct.

                         II.    JURISDICTION AND VENUE

       21.    Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. §

26) to secure injunctive relief against defendants for violating Section 1 of the Sherman

Act (15 U.S.C. § 1). Plaintiffs also bring these state law class claims on behalf of all the

classes to recover actual and/or compensatory damages, double and treble damages as

permitted, pre- and post-judgment interest, costs, and attorneys’ fees for the injury caused

                                           - 14 -
by defendants’ conduct in restricting the supply of beef and increasing the price of beef.

Plaintiffs seek damages in excess of $5,000,000. This Court has subject matter jurisdiction

under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§

15(a) and 26.

       22.      Venue is appropriate in this District under 28 U.S.C. § 1391(b), (c) and (d)

because one or more defendants resided or transacted business in this District, is licensed

to do business or is doing business in this District, and because a substantial portion of the

affected interstate commerce described herein was carried out in this District.

       23.      This Court has personal jurisdiction over each defendant because, inter alia,

each defendant: (a) transacted business throughout the United States, including in this

District; (b) manufactured, sold, shipped, and/or delivered substantial quantities of beef

throughout the United States, including in this District; (c) had substantial contacts with

the United States, including in this District; and/or (d) engaged in an antitrust conspiracy

that was directed at and had a direct, foreseeable, and intended effect of causing injury to

the business or property of persons residing in, located in, or doing business throughout the

United States, including in this District.

       24.      The activities of the defendants and all co-conspirators, as described herein,

were within the flow of, were intended to, and did have direct, substantial, and reasonably

foreseeable effects on, the foreign and interstate commerce of the United States.




                                             - 15 -
                                     III.    PARTIES

A.     Plaintiffs

       25.    Plaintiff Kenneth Peterson is a resident of Nevada and citizen of the United

States. During the Class Period and while residing in Nevada, plaintiff Peterson indirectly

purchased beef and beef products for his own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Peterson suffered injury as a

result of defendants’ conduct alleged herein.

       26.    Plaintiff Richard Kimble is a resident of Wisconsin and citizen of the United

States. During the Class Period and while residing in Wisconsin, plaintiff Kimble indirectly

purchased beef and beef products for his own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Kimble suffered injury as a result

of defendants’ conduct alleged herein.

       27.    Plaintiff Sharon Dawson-Green is a resident of Missouri and citizen of the

United States. During the Class Period and while residing in Missouri, plaintiff Dawson-

Green indirectly purchased beef and beef products for her own use and not for resale that

were produced by one or more defendants or their co-conspirators. Plaintiff Dawson-Green

suffered injury as a result of defendants’ conduct alleged herein.

       28.    Plaintiff Lisa Melegari is a resident of Florida and citizen of the United

States. During the Class Period and while residing in Florida, plaintiff Melegari indirectly

purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Melegari suffered injury as a

result of defendants’ conduct alleged herein.


                                            - 16 -
       29.    Plaintiff Cindy Abernathy is a resident of Utah and citizen of the United

States. During the Class Period and while residing in Florida, plaintiff Abernathy indirectly

purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Abernathy suffered injury as a

result of defendants’ conduct alleged herein.

       30.    Plaintiff Andrew Cohen is a resident of Arizona and citizen of the United

States. During the Class Period and while residing in Arizona, plaintiff Cohen indirectly

purchased beef and beef products for his own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Cohen suffered injury as a result

of defendants’ conduct alleged herein.

       31.    Plaintiff Marcelo Lopez is a resident of California and citizen of the United

States. During the Class Period and while residing in California, plaintiff Lopez indirectly

purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Lopez suffered injury as a result

of defendants’ conduct alleged herein.

       32.    Plaintiff Tanya Lewis is a resident of Hawaii and citizen of the United States.

During the Class Period and while residing in Hawaii, plaintiff Lewis indirectly purchased

beef and beef products for her own use and not for resale that were produced by one or

more defendants or their co-conspirators. Plaintiff Lewis suffered injury as a result of

defendants’ conduct alleged herein.

       33.    Plaintiff Nicole Gutierrez is a resident of Illinois and citizen of the United

States. During the Class Period and while residing in Illinois, plaintiff Gutierrez indirectly

                                            - 17 -
purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Gutierrez suffered injury as a

result of defendants’ conduct alleged herein.

       34.    Plaintiff Sharon Killmon is a resident of Iowa and citizen of the United

States. During the Class Period and while residing in Iowa, plaintiff Killmon indirectly

purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff Killmon suffered injury as a

result of defendants’ conduct alleged herein.

       35.    Plaintiff Karen Carter is a resident of Massachusetts and citizen of the United

States. During the Class Period and while residing in Massachusetts, plaintiff Carter

indirectly purchased beef and beef products for her own use and not for resale that were

produced by one or more defendants or their co-conspirators. Plaintiff Carter suffered

injury as a result of defendants’ conduct alleged herein.

       36.    Plaintiff Charlie Morgan is a resident of Minnesota and citizen of the United

States. During the Class Period and while residing in Minnesota, plaintiff Morgan

indirectly purchased beef and beef products for his own use and not for resale that were

produced by one or more defendants or their co-conspirators. Plaintiff Morgan suffered

injury as a result of defendants’ conduct alleged herein.

       37.    Plaintiff Brent Rasmussen is a resident of Montana and citizen of the United

States. During the Class Period and while residing in Montana, plaintiff Rasmussen

indirectly purchased beef and beef products for his own use and not for resale that were




                                           - 18 -
produced by one or more defendants or their co-conspirators. Plaintiff Rasmussen suffered

injury as a result of defendants’ conduct alleged herein.

       38.    Plaintiff April O’Connor is a resident of Nebraska and citizen of the United

States. During the Class Period and while residing in Nebraska, plaintiff O’Connor

indirectly purchased beef and beef products for her own use and not for resale that were

produced by one or more defendants or their co-conspirators. Plaintiff O’Connor suffered

injury as a result of defendants’ conduct alleged herein.

       39.    Plaintiff Kent Winchester is a resident of New Mexico and citizen of the

United States. During the Class Period and while residing in New Mexico, plaintiff

Winchester indirectly purchased beef and beef products for his own use and not for resale

that were produced by one or more defendants or their co-conspirators.            Plaintiff

Winchester suffered injury as a result of defendants’ conduct alleged herein.

       40.    Plaintiff Brenda King is a resident of New York and citizen of the United

States. During the Class Period and while residing in New York, plaintiff King indirectly

purchased beef and beef products for her own use and not for resale that were produced by

one or more defendants or their co-conspirators. Plaintiff King suffered injury as a result

of defendants’ conduct alleged herein.

       41.    Plaintiff Chong Lor is a resident of North Carolina and citizen of the United

States. During the Class Period and while residing in North Carolina, plaintiff Lor

indirectly purchased beef and beef products for his own use and not for resale that were

produced by one or more defendants or their co-conspirators. Plaintiff Lor suffered injury

as a result of defendants’ conduct alleged herein.

                                           - 19 -
       42.    Plaintiff Michelle Oversen is a resident of North Dakota and citizen of the

United States. During the Class Period and while residing in North Dakota, plaintiff

Oversen indirectly purchased beef and beef products for her own use and not for resale that

were produced by one or more defendants or their co-conspirators. Plaintiff Oversen

suffered injury as a result of defendants’ conduct alleged herein.

       43.    Plaintiff William Gee is a resident of the District of Columbia and citizen of

the United States. During the Class Period and while residing in the District of Columbia,

plaintiff Gee indirectly purchased beef and beef products for his own use and not for resale

that were produced by one or more defendants or their co-conspirators. Plaintiff Gee

suffered injury as a result of defendants’ conduct alleged herein.

       44.    Plaintiff Jacquelyn Watson is a resident of Tennessee and citizen of the

United States. During the Class Period and while residing in Tennessee, plaintiff Watson

indirectly purchased beef and beef products for her own use and not for resale that were

produced by one or more defendants or their co-conspirators. Plaintiff Watson suffered

injury as a result of defendants’ conduct alleged herein.

B.     Defendants

       45.    Cargill, Incorporated (Cargill) is a privately held Delaware corporation

headquartered in Minnetonka, Minnesota. During the Class Period, Cargill and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.




                                           - 20 -
       46.    JBS USA Food Company Holdings (JBS USA) is a subsidiary of Brazilian-

based JBS SA. JBS Food Company Holdings is a Delaware corporation, headquartered in

Greeley, Colorado. JBS USA Food Company Holdings holds a 78.5 percent controlling

interest in Pilgrim’s Pride Corporation, one of the largest chicken-producing companies in

the world. During the Class Period, JBS USA and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold beef in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.

       47.    Tyson Foods, Inc. (Tyson) is a publicly traded Delaware corporation

headquartered in Springdale, Arkansas. During the Class Period, Tyson and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

       48.    National Beef Packing Company (National Beef) is a privately owned

Delaware corporation headquartered in Kansas City, Missouri. National Beef and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

    IV. THE MEATPACKING DEFENDANTS CONSPIRED TO ELEVATE
       THEIR MARGINS BY DEPRESSING THE PRICE THAT THEY PAID TO
                           ACQUIRE CATTLE

       49.    Starting in at least 2015 and continuing to the present, the Meatpacking

Defendants coordinated with each other to increase their margins and thus harm consumers

who paid elevated prices for beef as a result. The Meatpacking Defendants’ conspiracy to

                                           - 21 -
depress throughput of beef and elevate their margins included anticompetitive activity to

depress the prices that they paid to beef ranchers through a variety of coordinated

mechanisms.

A.         Industry Background

           50.   The value chain for beef has various components, including ranch and farm

grazing operations, feedlot operations, meatpacking operations, and retail operations.

           51.   At the first stage, ranch and farm operations are responsible for initially

birthing and raising the cattle. There are hundreds of thousands of ranching operations in

the United States. The significant majority of these operations are family-owned or

individually operated.6

           52.   At the second stage, feedlot operations take possession of cattle and are

responsible for intensive feeding operations that raise the weight of the cattle prior to sale.

Once cattle reach between 950 to 1,500 pounds, they are sold to meatpacking operations.

These cattle are referred to as fed cattle.

           53.   In the third stage, meatpacking operations purchase fed cattle from feedlot

operations. The Meatpacking Defendants collectively controlled approximately 75 percent

of meatpacking operations in the United States during the relevant period.

           54.   Tyson, JBS, Cargill, and National Beef all operate a live cattle procurement

team of employees responsible for procurement of fed cattle. The teams feature “field

buyers” who are responsible for procurement within specific territories. Feed buyers



     6
         Available at http://www.beefusa.org/beefindustrystatistics.aspx.

                                              - 22 -
negotiate with producers and feedlot operators. Field buyers negotiate directly with the fed

cattle producers and their agents within the parameters set by their head buyer.7

       55.     Tyson, JBS, Cargill, and National Beef each conduct daily meetings,

attended by representatives of their respective cattle procurement, plant operations,

scheduling, beef sales, and risk management teams, among others, to make decisions

regarding their respective cattle and beef operations. Among other matters, the attendees

of these meetings will discuss the number of cattle their firms will procure, the terms on

which they will be bought, plant scheduling (including slaughter rates), and beef sales

strategy.

       56.     Tyson, JBS, Cargill, and National Beef each seek to procure sufficient fed

cattle to operate its slaughter plants at its chosen utilization rates without interruption.

Weekly plant capacity is determined not only by plant size, but by the number and length

of shifts run in a given week, and the “chain-speed” at which those shifts are run.8

Meatpacking Defendants’ average cost of production increases if they underutilize their

plant capacity. Thus, it is in the individual interest of each Meatpacking Defendant to make

sure that it has timely access to sufficient fed cattle to run its plants efficiently.

       57.     Meatpacking operations slaughter the cattle that they purchase and then

process the cattle for sale. The cattle is processed into various cuts that is then sold as


   7
        Producers commonly delegate authority for marketing their cattle to the commercial
feedlot which has fed their cattle or to third-party marketing cooperatives. A small portion
of the fed cattle sales to Meatpacking Defendants also occur at public auctions.
   8
       “Chain-speed” refers to the head per hour rate at which a plant slaughters and
fabricates cattle.

                                              - 23 -
“boxed beef” to various retail and foodservice operations. Boxed beef is a commodity

product, which means that competition for sales of boxed beef of the same USDA quality

and yield grade is primarily on price.

       58.     Retail operations purchase processed beef and sell it to retailers or

consumers. Retail operations include supermarkets and wholesalers. Retail operations

include companies such as Sysco, US Foods, Costco, and Sam’s Club.

       59.     The supply of fed cattle is insensitive to short term changes of price because

of fed cattle’s long life cycle and lack of alternative uses. Because beef demand also is

relatively insensitive to changes in price, historically the meat margin was highly correlated

with changes in the underlying slaughter price. But because of their concerted scheme, the

Meatpacking Defendants were able to increase their margins and profitability by artificially

suppressing the price they pay for beef while at the same time keeping the retail price of

beef elevated.

       60.     Fed cattle is sold to processors through two channels: (1) long-term

contractual arrangements between processors and suppliers; and (2) individual sales on the

spot market.

       61.     The Meatpacking Defendants procure the majority of their cattle supply

through contractual arrangements with ranch or feedlot operations. The price of cattle

under these contracts is usually determined through a price formula that incorporates the

price at which cattle are sold in weekly trade on the industry’s spot market.

       62.     The use of formula contracts that rely on the cash-cattle trade as the price

discovery mechanism means that the price that processors pay for fed cattle in the

                                            - 24 -
cash-cattle spot market determines the price of almost all fed cattle purchased by the

Meatpacking Defendants.

       63.    Formula contracts use a stipulated measure of cash-cattle prices at, or just

prior to, the date of delivery. These contracts commonly use a specified average cash price

reported by the USDA Agricultural Marketing Service’s Livestock Mandatory Reporting

summaries.

       64.    Tyson, JBS, Cargill, and National Beef use contractual agreements for

approximately 70 percent of their supply of fed cattle. The widespread use of these

contractual agreements, known as captive supply agreements, has facilitated the ability of

the Meatpacking Defendants to suppress cash-cattle prices. Cattle sold through these type

of contractual agreements are sometimes referred to as captive cattle.

       65.    The Meatpacking Defendants are not as reliant on the cash-cattle trade

because they have a guaranteed supply of cattle through their captive supply agreements.

Therefore, each Meatpacking Defendant can refuse to participate in procuring cash cattle,

thus pushing down the price of both cash cattle and captive cattle whose price is set based

on cash-cattle sales.

B.     The Meatpacking Defendants coordinated to reduce output, elevate their
       margins, and suppress the prices paid to beef farmers.

       66.    From 2009 to 2014, fed-cattle prices increased significantly with beef prices

increasing in tandem. By the beginning of 2015, the Meatpacking Defendants faced low

margins as a result of the market dynamics in the cattle and beef market.




                                          - 25 -
       67.    On information and belief, at this point in time, Tyson, JBS, Cargill, and

National Beef initiated their conspiracy to depress the price they paid for fed cattle while

at the same time stabilizing the price at which they sold beef. The Meatpacking Defendants

implemented this by, among other ways: (1) agreeing to reduce their slaughter numbers so

as to reduce beef output; (2) agreeing to reduce slaughter capacity by closing or idling

slaughter plants; (3) agreeing to limit their purchase of cash cattle; (4) coordinating their

procurement operations for cash-cattle purchases; ; and (5) continuing to import foreign

cattle after it became uneconomical for them to do so.

       1.     The Meatpacking Defendants agreed to reduce their slaughter
              numbers so as to reduce beef output.

       68.     Tyson, JBS, Cargill, and National Beef started in 2015 to collectively reduce

their slaughter volumes in response to rising fed-cattle prices. The purpose of these

slaughter reductions was to create a condition of oversupply that would cause ranchers to

accept lower cash prices for their cattle, as well as to stabilize the price of beef being paid

by consumers. During this period of time, the Meatpacking Defendants shared information

about the current and future operations of their processor plants with each other.

       69.    As confirmed by Witness 1, each of the Meatpacking Defendants expressly

agreed to periodically reduce its respective purchase and slaughter volumes in order to

reduce the prices they would otherwise pay for fed cattle during the Class Period.

       70.    Witness 1 is a former employee of one of the Meatpacking Defendants

(“Defendant 1”). Witness 1 was a quality assurance officer (“QA”) at one of Defendant 1’s

slaughter plants located within the Texas Panhandle / Western Kansas region (“Slaughter



                                            - 26 -
Plant 1” and “Panhandle Region”, respectively) for over 10 years until his employment

ceased in 2018.

       71.    During the Class Period, Witness 1 acted as a head QA and had primary

responsibility for the plant’s kill floor, hotboxes, and coolers. The kill floor is where cattle

are slaughtered and dressed, i.e., head, hide, and internal organs removed. The carcasses

are then moved to the hotboxes to cool down, before being stored in the coolers ahead of

fabrication, where they are broken down into smaller cuts.

       72.    Witness 1 learned of the Meatpacking Defendants’ collusive purchase and

slaughter reduction agreement from another employee in a position to know about the

unlawful “agreement”: Slaughter Plant 1’s head of fabrication (“Fabrication Manager”).

       73.    Witness 1 reports having multiple discussions with the Fabrication Manager

during which the Fabrication Manager explained that all of the Meatpacking Defendants

reduced their purchase and slaughter volume in order to reduce fed cattle prices when

Meatpacking Defendants viewed fed cattle prices as being or becoming “too high” for their

liking. For example, during one conversation, the Fabrication Manager specifically

admitted the Meatpacking Defendants had an agreement to reduce their purchase and

slaughter volumes in response to what they perceived to be high cattle prices.

       74.    That conversation occurred sometime in 2015 or early 2016. Witness 1

reports he was in the Fabrication Manager’s office when the Fabrication Manager received

an angry phone call from his immediate supervisor, who worked out of Defendant 1’s

central office.




                                             - 27 -
       75.    After the call concluded, Witness 1 reports he asked the Fabrication Manager

how “many are we [Slaughter Plant 1] cutting [i.e., fabricating]?” Witness 1 reports the

Fabrication Manager replied the “cut” was going to be steady that day, but that the “kills

are getting cut back, [because the] price is getting too high” (or words to that effect).9

Witness 1 then reports asking the Fabrication Manager whether other Meatpacking

Defendants’ plants in the Panhandle Region were also cutting back their kill. Witness 1

reports he recalls that the Fabrication Manager answered Witness 1’s question as follows:

“Yes, they are. We have had that agreement that we don’t kill while prices are up for a

while” (or words to that effect).

       76.    Witness 1 recalls specifically that the Fabrication Manager used the word

“agreement” and understood the Fabrication Manager was referring to at least all of the

Meatpacking Defendants’ plants in the Panhandle Region, namely Tyson Amarillo, Texas;

JBS Cactus, Texas; Cargill Friona, Texas; and National Beef, Liberal, Kansas. Each of

these plants provides a significant portion of each Meatpacking Defendants’ fed cattle

slaughter capacity (at least 20% in the case of each Meatpacking Defendant).

       77.    Witness 1 is certain the Fabrication Manager intended to convey that all of

the Meatpacking Defendants were reducing their slaughter volumes by agreement in

response to high prices, and was not simply commenting on the fact that one or some of

the Meatpacking Defendants had independently decided to do so.


   9
       Witness 1 reports that there was typically a lag between the commencement of a
slaughter reduction and the reduction of fabrication activities. Among other reasons, this
reflected the fact that Slaughter Plant 1’s fabrication team had to continue to process the
carcasses that were already hanging in the coolers.

                                          - 28 -
       78.    Witness 1 understands the Fabrication Manager had first-hand knowledge of

Meatpacking Defendants’ anticompetitive agreement. The Fabrication Manager continues

to work at Slaughter Plant 1, where he has worked for over 15 years in that role. In that

capacity, the Fabrication Manager reported directly to Defendant 1’s head office. As head

of fabrication, the Fabrication Manager needed to be informed as to cattle buying, cattle

slaughter, and beef selling aspects of Defendant 1’s business. He thus interacted with

personnel across Defendant 1’s business.

       79.    Witness 1 reports that prior to working for Defendant 1, the Fabrication

Manager worked at another Meatpacking Defendant (“Defendant 2”) for a number of years.

Witness 1 understands the Fabrication Manager was head of fabrication for the slaughter

plant operated by Defendant 2 in the Panhandle Region where he was employed

(“Slaughter Plant 2”).

       80.    The Fabrication Manager regularly told Witness 1 he was in contact with his

former colleagues at Slaughter Plant 2, including his replacement there. The Fabrication

Manager also told Witness 1 he had friends and former colleagues with whom he stayed in

touch at other Meatpacking Defendant plants.

       81.    The Fabrication Manager would often provide Witness 1 with detailed

information as to the current and future operations of the Meatpacking Defendants’ nearby

packing plants. Witness 1 regularly stopped by the Fabrication Manager’s office prior to

starting his shift to learn the slaughter and fabrication numbers for that day and the

upcoming days, as this affected the execution of his and his team’s responsibilities.

Witness 1 and the Fabrication Manager had a good working relationship.

                                           - 29 -
       82.    Witness 1 stated the purpose of the agreed slaughter reductions was to force

cattle producers (in particular, cash cattle producers) to feed their cattle for longer periods,

and in doing so, create a condition of oversupply that would encourage producers to either

accept lower cash prices for their cattle or commit their cattle in advance on captive supply

agreements. Put another way, by creating and encouraging an apprehension among

producers that they might not be able to “get their cattle dead,” Tyson, JBS, Cargill, and

National Beef each sought to increase their collective leverage over producers. As Witness

1 noted, once cattle are fed beyond their ideal slaughter-weight, producers face increasing

“pressure to drop their prices in order to get rid of their [perishable] cattle.”

       83.    Witness 1 stated that Slaughter Plant 1 had a 5,500-6,000 head per day

slaughtering capacity and might drop its kill level back to around 4,800-5,200 head per day

when implementing the Meatpacking Defendants’ agreement. While Defendant 1

implemented the Meatpacking Defendants’ agreement by buying and slaughtering fewer

cattle, the second order consequences of these actions included running its slaughter plants

at reduced hours, operating those plants at lower “chain speeds,” and/or scheduling

maintenance shutdowns.

       84.    Witness 1 reported that Slaughter Plant 1 would reduce its slaughter during

periods associated with seasonal rises in fed cattle prices, such as those traditionally

experienced in the late winter/early spring. He believes such actions formed part of the

Meatpacking Defendants’ anticompetitive agreement. Public reports indicate that all

Meatpacking Defendants reduce their slaughter volume during these periods to suppress




                                             - 30 -
price rises in fed cattle by ensuring that their collective demand for cattle did not exceed

the available supply.10

        85.   As shown in the above paragraphs, the data reflects that except for Cargill,

each Meatpacking Defendant’s annual slaughter volume in 2016 either remained below

2014 levels (Tyson (-6%) and JBS (-6%)) or flat (National Beef).11 Although Cargill’s

2016 slaughter volume rose 10% as against 2014, the volume remained significantly below

historic levels (see the charts in paragraphs 10 and 11 above).12

        2.    The Meatpacking Defendants agreed to reduce slaughter capacity by
              closing or idling slaughter plants

        86.   In order to further their agreement to reduce slaughter, increase margins, and

stabilize the price of beef being sold to consumers, Tyson, JBS, Cargill, and National Beef

reached an understanding to significantly reduce slaughter capacity over the past ten years,

in the years leading up to the Class Period. The four Meatpacking Defendants collectively

refused to expand their slaughter capacity of fed cattle once these permanent closures

occurred.




   10
        See, e.g., Cassie Fish, And the Beat Goes On, THE BEEF (Feb. 14, 2019),
https://www.thebeefread.com/2019/02/14/and-the-beat-goes-on-2/.       (“Packers also
know that February is typically the lightest slaughter month and even though they are
killing more cattle than a year ago – some plant ‘dark days’ began yesterday as plans
to keep the balance between supply and demand are paramount. Some plants will
undertake maintenance or upgrade projects and some will honor holidays such as
Monday’s President’s Day. Others will pull back hours to 36-hour work week.”).
   11
       Total industry slaughter was 24.56 million head in 2016, up from 24.11 million
in 2014. 2017 Meat & Poultry Facts, p.11.
   12
        CBW Top 30 Beef Packers.

                                           - 31 -
         87.   Cargill closed its Plainview, Texas in February 2013. This closure removed

4,650 cattle per day of capacity. The Plainview, Texas plant had been one of Cargill’s

larger plants. One report remarked that this single plant shutdown corresponded to “nearly

4% of the U.S. beef industry current capacity.”13

         88.   As if on cue, in February 2013, Tyson disclosed a reduction in live cattle

processing in its Q1 2013 Form 8-K, despite reporting “increased production due to

sufficient cattle supply and strong demand for our beef products” for its previous quarter

in its Q4 2012 Form 8-K.

         89.   Similarly, JBS acquired its Nampa, Idaho plant in April 2013. However, JBS

announced it would keep the plant closed throughout the Class Period. This Nampa, Idaho

plant had the capacity to process 1,100 cattle per day; yet, JBS had “no immediate plans to

reopen the facility.”14 The plant appears to still remain idle at the time of this filing.

         90.   National Beef shut its Brawley, California plant in June 2014. This closure

removed 2,000 cattle per day of capacity.

         91.   Shortly afterwards, in July 2014, Cargill announced it would close its

Milwaukee, Wisconsin plant in August 2014. This closure decreased slaughter capacity by

1,300 to 1,400 cattle per day.

         92.   In September 2015, Cargill announced it would sell its Plainview, Texas

plant that it had closed in February 2013.


   13
        Apr. 3, 2013 Votorantim Equity Research Report on JBS.
   14
      See https://jbssa.com/about/news/2013/04-04/#.XbxLJuhKiUm (last accessed Nov.
1, 2019).

                                             - 32 -
        93.   To match these closures, Tyson posted a “reduction in live cattle processed”

for each of the eight quarters from Q2 2014 to Q1 2016, as reported in its Form –K for the

same time period. This report in reduction was in spite of Tyson reporting “historically

high wholesale beef prices,” “[l]ow production volumes relative to demand,” and

“adequate supplies for [its] beef operations as [its] plants are located close to the fed cattle

supplies” in its Q1 2014 8-K.

        94.   Tyson also closed its Denison, Iowa plant in August 2015. This plant had

2,000 head per day of capacity.

        95.   Collectively, these closures by Tyson, JBS, Cargill, and National Beef

reduced the industry’s annual slaughter capacity by millions of cattle per year.

        96.   The Meatpacking Defendants also took further actions to prevent increases

in slaughter capacity. For example, Tyson closed a Cherokee, Iowa processing plant in

2014. But, even after closure, Tyson refused to break its lease. According to media reports,

Tyson officials “told the city they would consider handing over the shuttered plant – but

not to any firm that they believe is competition.”15

        97.   In 2018, four years after the initial closure, Tyson allowed another company

to purchase the Cherokee, Iowa plant, but only after inserting a requirement into the deed

that “limited the amount of cattle that can be processed at the plant for the next 10 years.”16



   15
      Available at
https://www.desmoinesregister.com/story/money/business/2016/07/08/held-hostage-
tyson-iowa-towns-dilemma/86449400/.
   16
      Available at
https://www.desmoinesregister.com/story/money/business/2018/09/19/tyson-foods-

                                             - 33 -
       98.    Tyson, JBS, Cargill, and National Beef’s actions have been successful at

reducing slaughter capacity. The following chart shows a decline in slaughter capacity

among the Meatpacking Defendants with post-2015 levels well below historic levels.




       99.    The Meatpacking Defendants recognized the importance of restraining

supply capacity in order to artificially inflate their margins. Tyson CEO Donnie Smith

stated as such on Tyson’s fourth-quarter 2015 earnings call: “You’ve got relatively low

cattle supply, you’ve got too much— well, not to say too much, probably not the right

way to say it, but you’ve got excess industry capacity. And that limits our ability to drive

margins above the 1.5% to 3%, we think.”



cherokee-iowa-plant-iowa-food-group-moves-justin-robinson-pork-beef-chicken-
processing/1356962002/.

                                           - 34 -
        100.   Even excluding plant idling, Meatpacking Defendants’ slaughter plant

closures stripped out approximately two million head from the industry’s annual slaughter

capacity, thereby limiting demand for fed cattle. In relation to each closure, the relevant

Meatpacking Defendants offered pretextual explanations, such as a lack of available cattle

in the adjacent regions and plant inefficiencies.17

        3.     The Meatpacking Defendants agreed to limit their purchase of cash
               cattle.

        101.   At the same time as they reduced their slaughter numbers, Tyson, JBS,

Cargill, and National Beef agreed to reduce their purchase of cash cattle.

        102.   When the Meatpacking Defendants reduced their cash cattle purchases,

Tyson, JBS, Cargill, and National Beef could still obtain the cattle needed to satisfy their

curtailed kill numbers by pulling forward cattle deliverable under previously-agreed

formula and forward contracts.18 Cargill and JBS could also lean on their own cattle being

fed at their own feedlots.19


   17
       National Beef even rejected a significant package of incentives offered by local
government, utilities, and nearby feedlots when it decided to close its Brawley plant.
National Beef plant closing Brawley Facility, PROGRESSIVE CATTLEMAN (March 24,
2014),    https://www.progressivecattle.com/news/industry-news/national-beef-plant-
closing-brawley-facility.
   18
        See also Cassie Fish, Futures Treading Water; Packers Keep Pressure On, The
Beef (Jun. 17, 2015), https://www.thebeefread.com/2015/06/17/futures-treading-
water-packers-keep-pressure-on/ (“The news is well known this week and the packer
has the upper hand. Boxes are higher and margins are black but packers are keeping
kills small. The reliance of packers on captive supply coupled with enormous kill cuts
enabled the packer to buy a limited number of negotiated cattle in June and to buy them
cheaper.”).
   19
       Until April 2017 and March 2018, respectively, Defendants Cargill and JBS owned
two of the nation’s largest feedlot businesses and fed a large number of their own cattle for

                                            - 35 -
        103.   Because Tyson, JBS, Cargill, and National Beef had each largely transitioned

to formula and forward contracts in the decade preceding 2015, drastically thinning the

cash cattle trade, even small reductions in their cash cattle purchases had an outsized impact

on cash cattle demand.

        104.   By reducing their purchases of cash cattle, the Meatpacking Defendants

sought to reduce the price of all cattle by using the link between cash cattle prices and the

prices paid under formula and forward contracts. By reducing their cash cattle purchases

for a period of weeks or months, the Meatpacking Defendants could “back-up” the volume

of slaughter-ready cash cattle, thereby encouraging producers to overfeed their cattle

and/or accept lower prices or enter captive supply agreements to timely market their

perishable product.20

        105.   One former feedlot manager, who managed a 35,000 head commercial

feedlot in the Panhandle region from 2012 until early 2016 (“Witness 2”), explained the




slaughter at their respective plants. Both continue to purchase all of the cattle fed by their
former feedlots. See also JBS S.A., Q2 2017 Earnings Call, Bloomberg Transcript (Aug.
16, 2017), at 16-17 (JBS’s André Nogueira noted the sale of JBS Five Rivers would not
impact cattle availability – “Around 25% of the cattle that we buy, we buy from Five
Rivers, and we will continue to buy from Five Rivers after the sale”).
   20
        Cassie Fish, Whatever Happened to a Fair Fight, The Beef (Nov. 10, 2015),
https://www.thebeefread.com/2015/11/10/whatever-happened-to-a-fair-fight/               (“The
conversation is no longer, what’s cash going to be, but rather, who needs any. . . The
smaller feeder is left to fight it out. Hoping he can get a buyer to come by and look at his
cattle. Pressured to sell cattle with time. Anything to get cattle gone. Those that attempt to
fight the market run the risk of making cattle too big even by today’s standards or worse,
alienate their local buyer. Powerlessness is widely felt by smaller producers on a regular
basis.”).

                                            - 36 -
limited incentives for a producer to try to bid up the Meatpacking Defendants in such

circumstances.21 Witness 2 elaborated:

        There was a good chance that you wouldn’t get your cattle sold if you
        rejected the [top-of the market] basis bid.22 Even if you did succeed in getting
        a higher [cash] bid on Friday, you had taken a huge risk for which others,
        who just accepted the [top-of the market] basis bid, got to benefit from [i.e.,
        through the higher reported cash prices used to set prices under their
        contracts]. But by accepting the bid, you added to the packers’ captive supply
        and helped them push the prices down, which of course hurt you as well
        [through the lower reported cash prices].

        106.   The lower reported cash prices were then incorporated into the Meatpacking

Defendants’ formula and forward contacts—the latter via a depression of live cattle future

prices—thereby lowering the costs of all the cattle delivered to the Meatpacking

Defendants’ plants.23 And once a condition of actual or perceived oversupply had been


   21
        As manager of the feedlot, Witness 2 was responsible for marketing all of the cattle
fed there, whether owned by the feedlot or its customers. In this capacity, Witness 2
negotiated with field buyers from Tyson, JBS, Cargill, and National Beef on a weekly
basis. Most weeks, Witness 2 would market between 600 to 1,500 head of cattle on behalf
of the feedlot. The feedlot marketed the majority of its cattle via the cash cattle market.
Witness 2 reports that by 2015, Tyson, JBS, Cargill, and National Beef would
predominately offer only basis bids for the cattle fed at his feedlot.
   22
        The “basis bid” is a form of most favored nation contract under which the packer
offers to pay the producer marketing cattle on the cash cattle market some variant of that
week’s top reported cash price, with or without a premium. For example, a packer might
offer to pay the producer the top price reported by the USDA in relation to Kansas for that
week, plus a $1 per CWT, provided that top price was paid for at least 20% of the reported
cattle sales. Tyson, JBS, Cargill, and National Beef used such bids during the Class Period
to further reduce the number of cattle whose price they needed to negotiate during the
weekly cash cattle trade, which was typically conducted on Friday. This further reduced
the leverage of those producers who sought to generate price competition among the
Meatpacking Defendants, thereby putting further pressure on cash cattle prices.
   23
       Cassie Fish, Cash Trade Volume Tiny; Futures Shake It Off, The Beef (Jun. 8,
2015),       https://www.thebeefread.com/2015/06/08/cash-trade-volume-tiny-futures-
shake-it-off/ (“A historically small number of negotiated fed cattle traded at the

                                             - 37 -
created, the Meatpacking Defendants could gradually increase their cash cattle purchases

(and slaughter volumes) without putting any significant upward pressure on prices.

       4.     The Meatpacking Defendants coordinated their procurement
              operations for cash-cattle purchases.

       1.     Tyson, JBS, Cargill, and National Beef supported their conspiracy by

collectively enforcing a bidding procedure for cash-cattle sales that suppressed fed-cattle

prices. That convention, which operated predominately in relation to those cattle sold in

the cash market (including basis baids), works as follows: once a producer receives a bid

from Packer A, the producer may either accept the bid or pass on it, but may not “shop”

that bid to other packers. 24 If the producer passes on the bid to seek further bids from other

packers, the producer must inform the other packers wishing to bid on the pen that it was



eleventh hour late Friday and Saturday at $155-$156, though the official USDA tally
isn’t out yet. But at least at this writing it appears it was enough to price formulas $4
lower than last week, jerking packer margins back to a positive.”).
24
        In a standard ascending bid auction, which is generally considered a competitive
procurement method, the current high bid binds the high bidder until a new higher bid is
received from another bidder. That is, the seller invariably “shops” the current highest bid
to other bidders. See, e.g., Paul Klemperer, AUCTIONS: THEORY AND PRACTICE 1-2, 11
(2004). Under the “no shop” rule, the current bidder is not bound by their current bid if
the seller attempts to solicit higher bids from other packers. Thus, relative to a standard
ascending bid auction, the queuing convention amounts to a series of individual
negotiations, each of which shifts substantial risk onto the seller. This has a depressing
effect on the price received. See Jeremy Bulow and Paul Klemperer, Auctions Versus
Negotiations, 86 THE AMERICAN ECONOMIC REVIEW 180, 180 (March 1996). The need
for buyers to coordinate on the enforcement of the “no shop” rule shows that sellers have
an incentive to deviate from the rule and individual buyers have an incentive to deviate
from it (by unilaterally offering higher prices) as well, but that buyers are collectively
advantaged by it. For a discussion of the effects of bidder collusion on auction prices see
Robert C. Marshall and Leslie M. Marx, The Economics of Collusion: Cartels and
Bidding Rings, THE MIT PRESS (2012, second printing February 2013), especially
Section III.

                                            - 38 -
bid “X” by Packer A that it passed on and that it can, therefore, only accept bids of X+$1.25

If Packer B is willing to pay X+$1, the producer may again choose to accept that bid or

pass on it, but may not “shop” that higher bid to other packers. If Packer B is only willing

to bid X or if the producer wants to change its reservation price, the producer is obligated

to first return to Packer A, who is “on the cattle” at price X and offer it a right-of-first-

refusal.26 Only if Packer A declines can the producer offer to sell to Packer B at X or the

producer’s new reservation price. At this point, however, Packer B is under no obligation

to purchase from the producer.

       107.   Witness 2 confirmed the field buyers from Tyson, JBS, Cargill, and National

Beef who visited his feedlot enforced strict adherence to this queuing convention with

threats of retaliation. He reported that each of these field buyers individually spoke to him

about the importance of his feedlot complying with the convention, and that they would

not “come by” anymore should he break with it. For example, Witness 2 reports that when

he took over management of the feedlot in 2012, the feedlot would only receive bids from

National Beef and Cargill. When he subsequently spoke to the field buyers from Tyson and

JBS responsible for his region in the fall of 2012, they both told him that they had stopped



25
      In certain instances, it may be acceptable to offer/accept bids in $0.50 per CWT
increments.
26
       The right-of-first-refusal, as well as the requirement that the producer must
disclose to other packers the identity and bid amount of the packer whose bid it passed
on, provides packers with information relevant for monitoring compliance with
collusively set prices among the packers. Such information is critical to sustaining an
effective cartel. See, e.g., J. George Stigler, Theory of Oligopoly, 72 THE JOURNAL OF
POLITICAL ECONOMY 44, 46 (Feb. 1964); Marshall, supra n.24, Section 10.1.

                                           - 39 -
visiting the feedlot because Witness 2’s predecessor had broken with the convention by

“shopping” their bids. Witness 2 reports the Tyson and JBS field buyers re-commenced

visiting the feedlot after he confirmed his commitment to following the convention.

       108.   Witness 2 also heard from the Defendants’ field buyers and other industry

participants about other producers being “blackballed” for breaking with the queuing

convention. In those circumstances, Witness 2 understood the Meatpacking Defendant

who was “on the cattle” would be tipped off as to the producer’s “breach” of the convention

by the field buyer whom the producer contacted while shopping the Meatpacking

Defendant’s bid, or would ex-post pressure the producer for details of their sale.

       109.   However, Witness 2 reports that very few producers or their agents would be

willing to break with the convention for fear of alienating one or more of their buyers. He

reports never breaking the convention for this reason. He said that commercial feedlots or

third party marketing bodies, such as his feedlot, were particularly reluctant to risk

retaliation given the duties they owed to their clients. As such, Tyson, JBS, Cargill, and

National Beef’s threats of boycott were typically sufficient to ensure adherence to the

convention.

       110.   The convention is an allocation mechanism imposed on the cash market by

the packers; it was not chosen by producers. It depresses fed cattle prices by limiting price

competition among beef packers. It does so, in part by requiring producers to relinquish

their current offer in order to seek higher offers, thus reducing their incentives to reject the

initial offer in the hope of generating better offers. Moreover, the queuing convention and

other features of the bidding process also rendered the cash cattle market susceptible to

                                             - 40 -
collusion and enabled Tyson, JBS, Cargill, and National Beef to monitor each other’s

bidding behavior.27

        111.   The convention created an artificial sense of urgency that encouraged

producers to accept the Meatpacking Defendants’ low initial offers.28 This effectively

reduced competition among Meatpacking Defendants for any particular pen of cash cattle

to which a Meatpacking Defendant would be the first to deliver what essentially amounts

to a take-it-or-leave-it offer, with no fear of subsequent price competition.

        112.   Over time, the Meatpacking Defendants engaged in an informal market

allocation process where only one meatpacker would bid on a particular feed lot’s cattle

week to week, over a period of months.

        113.   Witness 2 reports that in late 2014 or early 2015, the Tyson, JBS, Cargill,

and National Beef field buyers who attended his feedlot jointly demanded that he determine

who had the right to make the first bid each week by having them draw cards in his office.

Witness 2 reports that he acquiesced under duress.

        114.   Thereafter, and at least until Witness 2 left the feedlot in early 2016, the field

buyers from Tyson, JBS, Cargill, and National Beef would draw cards to determine who

could place the first bid.29 Witness 2 cannot recall a single week in 2015 when one of the


   27
        For the importance of monitoring by cartels, see footnote 26.
   28
      Economic literature finds that sellers, here the producers, tend to accept lower prices
when they feel time is running out and their other options are relatively unattractive. Ariel
Rubinstein, Perfect Equilibrium in a Bargaining Model, 50 ECONOMETRICA 97 (1982).
   29
        Randomization devices like this have been used by other cartels. For example, the
electrical contractors cartel used the phase of the Moon to determine which of the bidding
ring members had the right to bid, free from competition from other members of the ring.

                                             - 41 -
other field buyers actually raised the initial bid placed by the winner of the card draw. That

is, Witness 2 reports Tyson, JBS, Cargill, and National Beef did not engage in any price

competition for the cattle sold by Witness 2’s feedlot.

       115.   The field buyers tried to justify the card drawing scheme to Witness 2 by

saying it would allow them to avoid attending the feedlot at increasingly early hours in an

attempt to place the first bid. In a competitive market, however, in which purchasers engage

in genuine competition to acquire a producer’s products, no purchaser would have a

unilateral incentive to propose or adhere to such a scheme (nor would a producer have an

incentive to agree to such a scheme). Rather, each purchaser would instead have a unilateral

incentive to preserve the right to make an offer to the producer and rely on its ability to

offer the best terms to acquire the producer’s products.

       116.   Additionally, the Meatpacking Defendants would sometimes collectively

stop all purchases of cash cattle from the spot market for particular regions for a number

of weeks. This would produce a bottleneck that would back up cash cattle in these regions.

The Meatpacking Defendants would then begin purchasing cattle from that region at the

same time. The Meatpacking Defendants would then first negotiate prices in the

bottlenecked regions, which would be artificially low because of the collective boycott,

and then use that depressed price to influence nationwide prices.




See, e.g., J. Asker, Bidding Rings, in THE NEW PALGRAVE DICTIONARY OF ECONOMICS
(In: Palgrave Macmillan eds., 2010); R. Preston McAfee and John McMillan, Bidding
Rings, 82 AMERICAN ECONOMIC REVIEW 580, 585 (June 1992).

                                            - 42 -
       117.   Tyson, JBS, Cargill, and National Beef all would conduct the majority of

their weekly cash-cattle procurement during a very narrow window of time on a Friday.

The Meatpacking Defendants would generally offer prices for cash cattle that were no

higher than the initial bid by the Meatpacking Defendant that had opened the cash-cattle

trade. By contrast, the regional beef processors who are not named defendants would

purchase cash cattle across most days of the week. The Meatpacking Defendants reduced

competition among themselves as a result of this practice.

       118.   This practice further reduced producers’ ability and incentive to generate

price competition. Producers who passed on the initial bid they received during the trading

window would rarely receive a higher bid from one of the other Meatpacking Defendants.

At best, they would typically receive the same bid. And if the producer then wished to sell

at that price, they were required by the queuing convention to return to the initial bidder

who was “on the cattle” at that price. However, given the short trading window, the initial

bidder would regularly be unwilling or unable to renew its bid. This forced the producer to

return to the second bidder, who was then commonly unwilling or unable to renew its bid,

even if the bid had been given minutes before.

       5.     The Meatpacking Defendants continued to import foreign cattle after it
              became uneconomical for them to do so.

       119.   Tyson, JBS, Cargill, and National Beef also engaged in coordinated import

and shipping practices that reduced demand for domestic fed cattle and suppressed the cash

price transaction reports used to set the price of cattle procured under captive supply

agreements. Meatpacking Defendants would ship cattle over uneconomically long



                                          - 43 -
distances to their slaughter plants, from locations both inside the United States and from

Canada, to avoid bidding up the reported price of cattle in closer AMS LMR reporting

regions.30

        120.   Given the additional freight costs incurred in procuring fed cattle from

Canada or regions within the U.S. outside a slaughter plants’ typical procurement radius,

it is only economical for a Meatpacking Defendant to do so when the prevailing price

differences as against domestic/local prices exceeded these additional costs.

        121.   On information and belief, suppressing the demand for U.S. fed cattle

through the strategic importation of Canadian fed cattle is a practice that Defendants Tyson,

JBS, and Cargill have used during the Class Period and continue to use. But Meatpacking

Defendants appear to have continued to import fed cattle from mid-2015 onwards, when

procuring cattle for immediate slaughter was regularly more expensive than procuring fed

cattle from the United States.

        122.   Defendants Tyson, JBS, and Cargill have sought and received regulatory

approval to import fed cattle for immediate slaughter at their packing facilities, including:



   30
        In relation to cross-region shipping in the U.S., see, for example,
The_Meat_Gentleman (@blakealbers), TWITTER (Nov. 16, 2015, 12:02 PM),
https://twitter.com/blakealbers/status/666300194338660353 (“The amount of cattle going
south to dodge city and the like is incredible”); T. Heinle (@ndsuhsker), TWITTER (Feb.
26, 2016, 7:37 AM, https://twitter.com/ndsuhsker/status/703197081205391360 (“Shipping
cattle from wne to ene to be slaughtered #dontfigure!”); and T. Heinle (@ndsuhsker),
TWITTER               (Apr.            14,           2016,           5:45           PM),
https://twitter.com/ndsuhsker/status/720729811241414656 (Truckers are the packer's best
friend, first haul south early now haul north! #everycattlefeederbuytrk! -- @CornfedBeef
response: Apparently paying freight must be cheaper than paying up for cash cattle in the
region they need them! #BuyLowAndHaul”).

                                           - 44 -
(1) Tyson’s packing plants in Pasco, Washington and Joslin, Illinois; (2) JBS’s packing

plants in Greeley, Colorado; Hyrum, Utah; Plainwell, Michigan; Omaha, Nebraska;

Souderton, Pennsylvania; and Green Bay, Wisconsin; and (3) Cargill’s packing plants in

Ft. Morgan, Colorado; Wyalusing, Pennsylvania; and Fresno, California.31

          123.   These actions are consistent with an intent to depress U.S. fed cattle cash

prices. A Meatpacking Defendant would not incur the additional cost associated with the

import and purchase of foreign or extra-regional cattle in the hope of lowering its fed cattle

supply procurement costs, unless it was certain that its major competitors would do the

same thing, and therefore, also abstain from bidding up local cash cattle prices.

V.        THE MEATPACKING DEFENDANTS REPORTED RECORD MARGINS
               AFTER THE START OF THEIR COLLUSIVE ACTIVITY

A.        The Meatpacking Defendants’ scheme began to impact prices in 2015.

          124.   The Meatpacking Defendants’ coordinated conduct was successful.

Responding to the compression of their margins in late 2014, the Meatpacking Defendants

coordinated a reduction of their respective slaughter volumes. This reduction in slaughter

levels had the desired effect.

          125.   Fed cattle prices increased consistently from 2009 through 2014. Market

analysts, such as the USDA Economic Research Service, predicted the price levels

established in 2014 would continue for a number of years before experiencing a gradual




     31
        USDA, List of Plants Approved to Receive Immediate Slaughter Animals,
https://www.aphis.usda.gov/import_export/downloads/slaughter_list.pdf.

                                            - 45 -
decline.32 Some forecasters even foresaw no drastic change from 2014 prices, “barring any

outside market shocks like drought or a U.S. economic recession.”33

        126.   Cattle prices peaked at around $170 CWT in late 2014. For the first half of

2015, prices hovered around $160 CWT.34 At this point, the collusive scheme of the

Meatpacking Defendants began to noticeably take effect, as shown in the following chart:




   32
        U.S. DEP’T OF AGRIC., OCE-2015-1, OFF. OF THE CHIEF ECONOMIST: USDA
AGRICULTURAL PROJECTIONS TO 2024, INTERAGENCY AGRICULTURAL PROJECTIONS
COMMITTEE                    81                  (February                  2015),
https://www.usda.gov/oce/commodity/projections/USDA_Agricultural_Projections_t
o_2024.pdf.
   33
        Livestock Monitor, A Newsletter for Extension Staff, LIVESTOCK MARKETING
INFORMATION CENTER, STATE EXTENSION SERVICES IN COOPERATION WITH USDA 2
(Jan. 12, 2015); and CattleFax Predicts Strong Prices to Remain in 2015, AGWEB (Feb.
6, 2015), https://www.agweb.com/article/cattlefax-predicts-strong-prices-to-remain-
in-2015-naa-news-release/ (“Analyst[s] . . . expect fed cattle prices averaging in the
mid-$150s [per CWT in 2015], slightly higher than last year. Prices will trade in a
range from the near $140 [per CWT] in the lows to near $170 [per CWT] in the highs
in the year ahead.”).
   34
      Cattle prices are frequently denominated in hundredweight, (“CWT”), which refers
to the price of a hundred pounds of cattle.

                                          - 46 -
        127.   On June 12, 2015, Cassandra Fish, a former risk analyst at Tyson and a

proprietor of a market analysis report known as “The Beef,” discussed the then-recent and

remarkable cohesion being displayed by the Meatpacking Defendants. “Rarely has this

industry segment [the beef packers,] been an all-for-one and one-for-all group. All packers

need to buy cattle inventory. Most have cut hours. So will someone break ranks, pay up for

cattle and add hours to capture the better realization that the next boxed beef rally will

bring? Will one short a customer only to find that order filled by a competitor?”35

        128.   On June 25, 2015, Ms. Fish emphasized the cohesion being shown by the

Meatpacking Defendants: “packers refuse to reach for cattle and are currently in command.

After 3 weeks of sharply curtailed kills, packers are exhibiting incredible discipline and


   35
      Cassie Fish, “Futures Holding Gains; Waiting on Cash,” THE BEEF (Jun. 11, 2015),
available at https://www.thebeefread.com/2015/06/11/futures-holding-gains-waiting-on-
cash/.

                                          - 47 -
letting the kill increase gradually, limiting the ability “of feeders to get all cattle marketed

[i.e., sold] in a timely fashion.”36

        129.   By September 2015, cattle prices had declined from $160 CWT to $120

CWT as the effects of the Meatpacking Defendants’ actions began to take hold.

        130.   On November 10, 2015, Ms. Fish emphatically stated the new collusive

reality in the cattle market: “It’s been happening for a while, and it’s gone on long enough

now that it seems normal. Packers no longer compete against each other to buy fed

cattle each week. Once in a while there will be a week when all buyers are accounted for

and active, but it occurs less frequently as time goes on. The conversation is no longer,

what’s cash going to be, but rather, who needs any.”37

        131.   The Meatpacking Defendants continued their collusive activities throughout

2016 to the present. The result is that the Meatpacking Defendants collected an artificially

elevated margin as the CWT price that the Meatpacking Defendants paid remained low,

while the retail price that consumers paid remained elevated throughout the period. As

shown in the below chart, the Meatpacking Defendants’ anticompetitive activities to

suppress beef throughput resulted in an elevated margin as a result of their successful

collusion:




   36
      Cassie Fish, “Another Round of the Blues,” THE BEEF (Jun. 25, 2015), available at
https://www.thebeefread.com/2015/06/25/another-round-of-the-blues/.
   37
       Cassie Fish, “Whatever Happened to a Fair Fight,” THE BEEF (Nov. 10, 2015),
available at https://www.thebeefread.com/2015/11/10/whatever-happened-to-a-fair-
fight/.

                                             - 48 -
B.    Prior to 2015, the profits for the Meatpacking Defendants were low.

      132.   In November 2014, two of the publicly traded Meatpacking Defendants

announced their profit margins for the beef segment. In a November 7, 2014, earnings call,

Tyson reported an operating margin of 3.5 percent for its beef division for the quarter.

Compared against Tyson’s poultry division (where the broiler conspiracy was already

successfully underway), the beef division was underperforming. Tyson’s poultry division

reported a normalized operating margin range of 7-9 percent.




                                          - 49 -
        133.   Similarly, on a November 13, 2014 earnings call, JBS stated that it was

looking for a 4 percent EBITDA margin in its beef segment. The beef division was less

profitable at this point in time than JBS’ pork division (where the pork conspiracy was

already successfully underway). JBS for this quarter reported a margin of 12 percent for its

pork business.

C.      Starting in 2015, the margins for the Meatpacking Defendants soared.

        134.   The collusive activity described above fundamentally changed the pricing

dynamics of the market. Starting in 2016, the Meatpacking Defendants profits rose to

unprecedented levels as they expanded their margin and caused consumers to pay

artificially elevated prices for beef.

        135.   On August 11, 2016, JBS reported that it expected the beef business to have

an EBITDA margin of 4-5 percent for the rest of the year and that “we are very positive

now that second half we are going to see this positive cycle showing in the results and

showing in our results.”

        136.   On November 16, 2016, JBS reported that JBS USA will be at the top of its

margin range for 2017, stating that there is “a very positive dynamic for the U.S. business

now.”

        137.   On November 21, 2016, Tyson reported that it expected its beef business

operating margin to be at the upper end of the normalized range of 1.5 to 3 percent for

fiscal year 2017.

        138.   On February 6, 2017, Tyson reported a record quarterly operating margin of

8 percent for its beef business, raised its operating margin for the year to 5 percent, and

                                           - 50 -
stated that it did not think 2017 was an aberrational performance for the beef division.

Tyson’s performance significantly exceeded the normalized margin range of 1.5 to 3

percent that it had forecast for its beef business prior to 2015.

       139.   On March 14, 2017, JBS reported an EBITDA margin of 7.3 percent for the

fourth quarter of 2016, significantly higher than its 2015 margins.

       140.   On May 8, 2017, Tyson forecast operating margins of 5 percent for its beef

business for 2017 and 2018 – above the normalized margin range of 1.5 to 3 percent. An

investment analyst stated that Tyson’s “outperformance jumped dramatically during the

quarter” and questioned whether Tyson was “doing something different in [the beef]

business” based on Tyson’s forecasted margins.

       141.   On August 15, 2017, JBS reported an EBITDA margin of 5.9 percent for its

beef business and stated that “This was the best EBITDA and EBITDA margin posted

for a second quarter in the history of the company in this business unit.”

       142.   On November 13, 2017, Tyson reported an operating margin of 6 percent for

its beef unit for the year, above its prior forecast of 5 percent and its normalized operating

margins of 1.5 to 3 percent.

       143.   On November 14, 2017, JBS reported record EBITDA margins of 7.3 percent

for its beef business. JBS stated that these results have “reinforced our confidence in the

outlook for business.”

       144.   From 2015 to 2018, the Meatpacking Defendants nearly doubled the share of

profits that they captured from the overall beef value chain.




                                            - 51 -
D.     Tyson and JBS attributed their record 2017 & 2018 profits to their visibility
       into the beef supply chain.

       145.   Tyson and JBS continued to report elevated margins throughout 2017 and

2018. On earnings conference calls during this period, executives from JBS and Tyson

frequently attributed their new, record profits to their ability to understand the amount of

cattle in the beef supply chain in upcoming years. On certain earnings periods during this

period, JBS executives also noted at points that they were not taking market share from

competitors and that the elevated margins were helped by capacity decreases resulting from

plant closures.

       146.   On August 7, 2017, Tyson reported an operating margin for its beef business

of 3.7 percent for the third quarter of 2017 and emphasized its confidence in the beef

business going forward: “With ample supplies of cattle, we see very good conditions for

our Beef business as far out as 2020, as we enter the early stages of a multiyear expansion



                                           - 52 -
cycle. Absent a shock to the system such as a drought or an import ban, our Beef business

is well-positioned for profitable, long-term growth.” In response to an investment analyst

question, Tyson stated that “it’s on our minds” whether Tyson should raise the forecasted

normalized operating margins for its beef business of 1.5 to 3 percent.

       147.   On February 8, 2018, Tyson reported quarterly operating margins of 6.6

percent and yearly margins close to 6 percent. Tyson emphasized that it had “pretty good

visibility into ’19 and ’20 at this point. We see the number of animals out there.” Tyson

refused to talk about its “idled capacity” but emphasized that “we have…good visibility

into the cattle that’s out there. We see the number of animal so that’s that certainly good

for us.”

       148.   On May 7, 2018, Tyson forecast operating margins of 6 percent for the year

– above its normalized operating margin range for 1.5 to 3 percent. Tyson attributed its

forecast to be “on the back of those cattle on feed reports and knowing that the supplies in

our region are exceptionally good.”

       149.   On May 15, 2018, JBS reported an EBITDA margin of 6.1 percent for the

quarter and forecast that margins would be at record levels for the following two quarters.

JBS emphasized that its performance was not based on “taking share from anyone.”

       150.   On August 6, 2018, Tyson reported an operating margin of 8 percent for the

quarter. Tyson stated that it had an “optimistic outlook” because “we have good visibility

into 2021…that’s good because we do see the number of animals that are out there.”

       151.   On August 15, 2018, JBS reported an EBITDA margin of 10.2 percent for

the quarter and that “we’re moving the overall margin in beef for a different level that

                                           - 53 -
was in the past.” JBS emphasized that it was benefitted from the shutting of several plants

in the last five years. JBS could not “see how the beef U.S. can be less profitable in 2019

compared to how it is going to perform in 2018.” At the same point, JBS reported that its

EBITDA margin for pork for the quarter was 7.2 percent. This was a reversal from 2014,

where JBS expected margins of approximately 4 percent for its beef business as compared

to 9-10 percent for its pork business.

          152.   On November 13, 2018, Tyson reported record operating margins of 8.9

percent for the quarter and 6.7 percent for the year. Tyson stated that it expected similar

results in the following years because of its visibility into cattle supply: “As we look at

2019, 2020, even in 2021 we frankly we don’t see a lot of change. The supply appears to

be relatively stable. We have a good sense of what that looks like just due to the calf crop

that gives us good visibility for at least a couple of years.”

E.        After a recent plant closure, Tyson, JBS, Cargill, and National Beef
          drastically decreased cattle prices, while increasing beef prices.

          153.   On August 9, 2019, Tyson closed its Holcomb, Kansas slaughter and

processing plant after a fire occurred at the plant. Tyson suggested in early September 2019

that the plant will remain partially closed until early 2020 while repairs are conducted.38

          154.   Immediately following the plant fire, Tyson, JBS, Cargill, and National Beef

all slashed their fed cattle bids by at least $5 CWT and hiked their beef prices. These actions

caused a $5 CWT drop in fed cattle prices and a $14 CWT rise in wholesale beef prices the



     38
        Tyson Plant Back Online By January, FEEDLOT (September 6, 2019),
http://feedlotmagazine.com/tyson-plant-back-online-by-january/.

                                             - 54 -
following trading week.39 This resulted in packer per head margins rise from $191 to $358.

Although the Meatpacking Defendants blamed the loss of Holcomb’s 5,500 to 6,000 head

per day slaughter capacity for these price changes, weekly fed slaughter volume actually

remained steady in the weeks that followed the fire (averaging around 521,900 head in the

three weeks that followed the fire, as compared to the 521,700 killed in the week of the

fire).40 Tyson has subsequently confirmed it expects its slaughter volume loss to be

“somewhat minimal.”41

         155.   Tyson, JBS, Cargill, and National Beef also drastically reduced their

respective cash cattle purchases after the fire, and relied upon their captive supplies. Tyson,

in particular, was largely absent from the cash cattle market in the weeks that followed the

fire. This placed further pressure on cash cattle prices (and thus reduced the price of each

Defendant’s contracted cattle).42 Tyson, JBS, Cargill, and National Beef continued to drop

their bids in lockstep.




   39
      Sterling Beef Profit Tracker: week ending August 16, 2019, STERLING MARKETING
INC. (August 20, 2019), https://cdn.farmjournal.com/s3fs-public/inlinefiles/
Beef%20Tracker%2081919.pdf. Live cattle futures contracts were also negatively
impacted, with the market responding with two limit-down trading days on September 12
and 13, 2019.
   40
      These declines also reflected seasonally declining supplies of fed cattle.
   41
        FEEDLOT, supra n.38.
   42
      An overview of the industry wide drop in cash cattle sales is available here: National
Weekly Fed Cattle Comprehensive, U.S. DEP’T OF AGRIC. (September 24, 2019),
https://www.ams.usda.gov/market-news/national-direct-slaughter-cattle-reports; and
Weekly     Newsletter,     CATTLE     BUYERS       WEEKLY        (August       26,   2019),
http://www.cattlebuyersweekly.com/users/newsletters.php/2019/0826.txt.

                                            - 55 -
        156.   As a result, cash cattle prices continued to slide in the following weeks, with

5-Area Choice Steers bottoming out at around the $100 CWT in the week ending on

September 13, 2019, down from $113 CWT in the week of the fire.

        157.   Tyson, JBS, Cargill, and National Beef have consequently enjoyed

significant increases to already record high margins in the weeks that followed the

Holcomb fire, by stepping down fed cattle prices and raising beef prices in parallel. By the

week ending on September 13, the spread between the packer and producers’ per head

margin exceeded $600, with packers making over $400 per head, while producers sustained

$200 per head losses.43

        158.   The U.S. Secretary of Agriculture has announced that the Packers and

Stockyards Division, the division of the USDA responsible for enforcement of the Packers

and Stockyards Act,44 launched an investigation into the conduct of the Defendants and

other beef packers in the aftermath of Tyson’s Holcomb, Kansas plant fire “to determine if

there is any evidence of price manipulation, collusion, restrictions of competition or other

unfair practices.”45


   43
     Sterling Beef Profit Tracker: week ending September 13, 2019, STERLING
MARKETING INC. (September             18,    2019),   https://cdn.farmjournal.com/s3fs-
public/inlinefiles/Beef%20Tracker%2081919.pdf.
   44
       The purpose of the Packers and Stockyards Act of 1921 is “to assure fair competition and
fair trade practices.” The Act was originally enacted in response to concerns that the five largest
meat packers at the time had engaged in anticompetitive practices. See Packers and Stockyards
Act, U.S. DEP’T OF AGRIC., https://www.ams.usda.gov/rules-regulations/packers-and-
stockyards-act; The Packers and Stockyards Act: An Overview, THE NAT’L AGRIC. LAW
CTR., https://nationalaglawcenter.org/overview/packers-and-stockyards/.
   45
      Secretary Perdue Statement on Beef Processing Facility in Holcomb, Kansas, U.S.
DEP’T OF AGRIC. (August 28, 2019), https://www.usda.gov/media/pressreleases/
2019/08/28/secretary-perdue-statement-beef-processing-facility-holcomb-kansas

                                              - 56 -
VI.      THE STRUCTURE OF THE BEEF PACKER INDUSTRY IS CONDUCIVE
                           TO THE CONSPIRACY

         159.   Defendants’ conspiracy to constrain the supply of cattle, restrain the amount

of processed beef they sold, stabilize the price of beef, and maximize their margins, was

facilitated by the structure of the meatpacking market. The beef meatpacking industry has

all of the hallmark features found in highly-cartelized markets, including: (1) a highly

concentrated market with high barriers to entry; (2) a commodity product; (3) inelastic

demand; and (4) unusual market share stability.

A.       The beef meatpacking industry was highly concentrated.

         160.   Market concentration facilitates collusion. Collusive agreements are easier

to implement and sustain when there are only a few firms controlling a large portion of the

market. Practical matters, such as coordinating cartel meetings and exchanging

information, are much simpler with a small number of players. Moreover, this high degree

of control also simplifies coordination because there is little outside competitive presence

to undermine the cartel, and it is easier for cartel participants to monitor each other’s actions

related to supply and pricing. Also, with fewer firms in the market, the transitory gains that

might be achieved by undercutting the cartel price and gaining a transitory increase in

market          share      would        be        outweighed         by        the       greater




(“I have directed USDA’s Packers and Stockyards Division to launch an investigation into
recent beef pricing margins to determine if there is any evidence of price manipulation,
collusion, restrictions of competition or other unfair practices. If any unfair practices are
detected, we will take quick enforcement action. . . . I know this is a difficult time for the
industry as a whole. USDA is committed to ensuring support is available to ranchers who
work hard to the feed the United States and the world.”).

                                             - 57 -
long-term profits for a colluding firm in a concentrated industry with artificially elevated

prices.

          161.   By contrast, if an industry is divided into a large number of small firms, the

current gain from cheating on a cartel (profits from sales captured from other cartel

members through undercutting of the cartel-fixed price in the current time period, which

risks causing the cartel to fall apart in the future) is large relative to the firm’s possible

gains from the cartel’s continuing future success (the firm’s future share of the total cartel

profits if collusion were to continue successfully).

          162.   Throughout the Class Period, the Defendants purchased and slaughtered

between 82% and 87% of all fed cattle sold within the United States on an annual basis.

          163.   Throughout the Class Period, Defendants controlled approximately 75

percent of the market for both slaughter capacity and processed beef sales:




                                              - 58 -
       164.   The Herfindahl-Hirschman index (HHI) is a commonly accepted measure of

market concentration. The DOJ considers markets in between 1,500 to 2,500 to be

moderately concentrated.

       165.   As of 2017, the cattle processing HHI for both slaughter capacity and beef

processing sales was over 2,000. Under the HHI ratio, the beef-packing market is more

concentrated than either the pork or poultry processing markets:




       166.   A highly concentrated market makes it easier cartelists to facilitate their

conspiracy by making it easier to make agreements, form understandings, combinations or

conspiracies to fix, raise, maintain, and/or stabilize prices, and/or to allocate market shares,

and to set and keep prices at artificially high, supra-competitive levels.

       167.   The four-firm concentration ratio (CR-4) is a commonly used metric for

measuring market concentration that measures the sum of the market shares for the top four

firms in a particular market.

       168.   The sum of the market shares for the four Meatpacking Defendants is greater

than 70 percent in both cattle slaughtering and beef sales. According to the CR-4 typology,

a market with this type of market share distribution is classified as a tight oligopoly:


                                             - 59 -
       169.   Prior to and in the beginning of the Class Period, the beef industry underwent

a period of increasing market concentration, resulting in a small number of beef processors

controlling a large amount of market share. In 2001, Tyson purchased IBP, then the United

States’ largest beef packer. In 2002, Cargill purchased Taylor Packing, a beef packer. In

2007 and 2008, JBS acquired Swift & Co and Smithfield Beef Group, respectively the

third- and fifth-largest beef packers in the United States.

       170.   The level of concentration in the beef industry therefore rested in an ideal

zone for collusion. Because the industry was dominated by a small number of meatpackers,

it was feasible to manipulate price through coordination between the Meatpacking

Defendants, the four dominant players that controlled the market. Further, this coordinated

activity was necessary to increase margins because none of the largest producers had

sufficient market share to control price through their actions alone.



                                            - 60 -
B.     The beef packer market featured high barriers to entry.

       171.   Barriers to entry are obstacles which prevent new competitors from easily

entering the market. They restrict competition in a market and may make it easier for

incumbents to collude.

       172.   A collusive arrangement that raises product prices above competitive levels

would, under basic economic principles, attract new entrants seeking to benefit from the

profits to be reaped from supra-competitive pricing. Where, however, there are significant

barriers to entry, new entrants are less likely to enter the market. Thus, barriers to entry

help to facilitate the formation and maintenance of a cartel.

       173.   Barriers to entry kept would-be competitors out of the beef-packing industry.

New entry into beef processing is costly and time consuming. The estimated cost of

building a small processing plant, with a slaughter capacity of 1,000-1,500 head per day,

would cost an estimated $150 million.

       174.   In addition to the cost of opening a plant, new entrants would have to comply

with numerous regulations, find and train a large workforce, and successfully market the

processed beef.

       175.   As a result of these barriers, new entrants into the beef packing market, such

as Northern Beef Packers and Kane Beef, have gone bankrupt after attempting to enter the

market.

C.     Beef is a commodity product.

       176.   In economics, a commodity is a basic item or good used in commerce that is

interchangeable with other goods of the same type. Commodities are most often used as


                                           - 61 -
inputs in the production of other goods or services. Examples of traditional commodities

are sugar, wheat, and rubber. As technologies for markets and goods mature, a product is

more likely to be considered a commodity, at least in its more basic implementations.

       177.    Markets for commodity products are conducive to collusion. Typically, when

a product is characterized as a commodity, competition is based principally on price, as

opposed to other attributes such as product quality or customer service. This factor

facilitates coordination because firms wishing to form a cartel can more easily monitor and

detect defections from an anticompetitive agreement where any observed differences in

prices are more likely to reflect cheating on the conspiracy than any other factor which

might affect pricing, such as special product characteristics, service or other aspects of the

transaction.

       178.    Beef is a commodity. For example, beef roasts from Tyson and Cargill are

virtually indistinguishable, as both share similar nutritional values and differ only in

branding and packaging.

D.     The beef meatpacking market featured unusual market share stability during
       the relevant period.

       179.    In a competitive market, market shares are expected to fluctuate as

manufacturers compete and win customer business from one another. Stable market shares

over time are consistent with an agreement to divide up a market, fix prices, or restrict

output.

       180.    Although market-share stability does not prove collusion, it is suggestive of

an understanding within a cartel group not to compete over existing business. A distinct



                                            - 62 -
drop in market-share volatility between two time periods is consistent with an agreement

coming into effect in a previously competitive market.

         181.   Market share by sales among the Meatpacking Defendants appears to be

more stable during the Class Period as compared to the preceding decade for both beef

sales:




         182.   The same is true for slaughter capacity – the market share amongst the

Meatpacking Defendants appears to be more stable during the Class Period than the decade




                                          - 63 -
prior:




E.       The demand for beef is inelastic.

         183.   “Price Elasticity” or “Elasticity” are terms used to describe the sensitivity of

supplier or consumers to changes in the price of a good or service. For example, demand

is said to be “inelastic” if an increase in the price of a product results in only a small decline

in the quantity sold of that product, if any. In other words, under conditions of inelastic

demand, customers have nowhere to turn for alternative, cheaper products of similar

quality, and so continue to purchase despite a price increase.

         184.   For a cartel to profit from raising prices above competitive levels, demand

must be relatively inelastic at competitive prices. Otherwise, increased prices would result



                                             - 64 -
in declining sales, revenues, and profits, as customers purchased substitute products or

declined to buy altogether. Inelastic demand is a market characteristic that facilitates

collusion, allowing producers to raise their prices without triggering customer substitution

and lost sales revenue.

       185.   Price elasticity of demand (PED) is a measure used to quantify the degree to

which the quantity demanded for a good or service changes in response to a change in

price. The formula to calculate the PED is the percentage change in quantity consumed

divided by the percentage change in price. A PED value between 0 and -1 indicates an

“inelastic” demand for a good or service, i.e. a 1% increase in price induces a less than 1

percent decrease in the quantity demanded.

       186.   A review of the relevant literature found that the average PED estimate for

beef was -0.43, reflecting a relatively inelastic level of demand for beef:




F.     Abnormal pricing during the Class Period demonstrates the success of the
       collusive scheme.

       187.   Beginning in 2015, the beef industry showed abnormal price movements as

beef packers began to reap an increasing share of consumer spending on beef.

       188.   The average spread between the average farm value of cattle and wholesale

value of beef was substantially higher from January 2015 to the present than it was in the




                                           - 65 -
preceding 5 years. And in those preceding years there was a smaller relative increase in the

spread between wholesale and retail values of beef:




       189.   Beef processors have nearly doubled their share of consumer beef spending

following the beginning of their collusive scheme to inflate their margins:




G.     Overcharges due to the cartel were passed through to the indirect purchaser
       class.

       190.   The USDA has stated that high levels of market concentration allow the

largest participants to extract more of the economic value from food transactions, but

“consumers typically bear the burden, paying higher prices for goods of lower quality.”

       191.   As a matter of economic principle, firms must recover the short-run variable

costs of production when they price their products for the market, which ultimately get

passed to consumers in the form of higher retail prices. For a firm to be profitable, the firm

must recover its marginal cost of production. In a perfectly competitive market, firms price


                                            - 66 -
at marginal cost and when marginal costs increase, the cost increases are passed through to

the consumer 1:1 or at a 100 percent pass-through rate. As a general matter, the pass-

through rate will be determined by the relative elasticities of supply and demand. When

demand is inelastic (as it is for beef) the pass-through rate is closer to 100 percent.

       192.   Starting in 2015, the retail price of beef and the price paid for live steer

diverged dramatically, as falling wholesale prices for live steer did not lead to matching

decreases in the retail price of beef. This divergence from the prior historical pattern is a

result of the Meatpacking Defendants’ collusive activity:




       193.   Publicly available data confirms that the consumer-class members were

injured. Using the period prior to the conspiracy (2010 to 2014) as an approximation of the

non-collusive processor markup, plaintiffs have modeled what the price of beef would have

been from 2015 to 2018 in the absence of a conspiracy. The orange dotted line in the


                                            - 67 -
following chart shows what the wholesale price of beef would have been, but for the

existence of the conspiracy – demonstrating clear impact in the post-2015 period:




      194.   The following diagrams clearly show the Meatpacking Defendants’

anticompetitive conduct was successful at dramatically elevating their markup margins in

the 2015 to 2018 period as compared to the benchmark pre-2015 period, where the

anticompetitive conduct is presumed to be absent:




                                         - 68 -
- 69 -
H.     The elevation in processor margins during the Class Period is not explained
       by changes in export levels or international demand for beef.

       195.   Changes in relative levels of export vs. import of beef during the relevant

period do not explain the increase in processor margins because the United States has

actually transitioned from being a net exporter of beef from 2010 to 2014 to being a net

importer of beef from after 2015:




       196.   This change in status from net exporter to net importer is consistent with an

artificial bottleneck in domestic supply. It is not consistent with rising meatpacker margins

being caused by increased foreign demand, as foreign demand, on net, fell in relation to

domestic demand over the relevant period.

       197.   Furthermore, export prices have increased since 2010, but the volume-

weighted average export price has not increased faster than domestic prices. This result is



                                           - 70 -
also inconsistent with the increase in processor margins being caused by changes in

exporting amounts:




       198.   The change in meatpacking margins is also not explained by a change in

international levels of demand. On the international level, there is strong historical

evidence that the degree of international demand has very little impact on the wholesale or

retail price of beef. Regression analysis shows that quarterly changes in the export amounts

of beef has very little impact on changes in the wholesale or retail price of beef. The

absence of any impact is particularly visible during the Mad Cow crisis of 2004. During

this period, international demand for, and thus exports, of beef almost entirely collapsed,

but there was almost no effect on the retail price of domestic beef:




                                           - 71 -
I.        The Meatpacking Defendants had numerous trade organizations and
          opportunities to meet and collude.

          199.   Meatpacking Defendants’ management and employees have regular

opportunities to meet and collude through their membership in various trade and industry

associations, including: the National Cattlemen’s Beef Association (“NCBA”); the U.S.

Meat Export Federation (“USMEF”); the Global and U.S. Roundtables for Sustainable

Beef (“USRSB”)46; and the North American Meat Institute (“NAMI”) (which resulted from

the merger of The North American Meat Association and the American Meat Institute).




     46
       In 2015, Meatpacking Defendants were among the founding members of the
USRSB. Meatpacking Defendants participate in its annual meetings (held in the spring),
with JBS and Cargill additionally having leadership positions in certain working groups.

                                         - 72 -
        200.   For example, the NCBA holds an annual convention (known as

“CattleCon”), a summer conference, a legislative conference, and regional meetings.47 The

NCBA Product Council, which includes Meatpacking Defendants, other packers, and

certain retailers and restaurants, meets quarterly for the Beef Executive Forum, an

invitation-only event.48 Representatives of each Meatpacking Defendant typically attend

these events. Meatpacking Defendants also participate in meetings of the Beef Checkoff

program run by the Federation of State Beef Councils that are held in conjunction with the

NCBA summer and winter meetings.49

        201.   Similarly, the USMEF—a trade association that develops export

opportunities for U.S. protein producers and whose leadership includes current and former

employees and officers of Meatpacking Defendants—holds both spring and fall

conferences and monthly international trade shows.50




   47
      NCBA Allied Industry Membership, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
www.beefusa.org/CMDocs/BeefUSA/AboutUs/2019NCBA%20Allied%20Industry%20
Brochure.pdf.
   48
        Id.
   49
        See also The Association, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
http://www.beefusa.org/theassociation.aspx; and Federation, NAT’L CATTLEMEN’S
BEEF ASS’N (2019), http://www.beefusa.org/federation.aspx.
   50
        Events:   Meetings,      U.S.     MEAT       EXP.     FED’N  (2019),
http://www.usmef.org/events/bod-meetings/; Events: Trade Show Calendar, U.S.
MEAT EXP. FED’N (2019), http://www.usmef.org/events/trade-shows/.

                                          - 73 -
          202.   The NAMI—which is a national trade association that represents companies

that process 95% of red meat—conducts a series of annual conference and educational

workshops all across the country.51

J.        The Meatpacking Defendants have significant oversight of each other’s prices
          and production decisions.

          203.   The Meatpacking Defendants’ field buyers’ weekly trips to inspect the

feedlots in their territories provide an opportunity to meet and exchange commercially

sensitive information among each other. Field buyers routinely communicate “market

color” obtained from the field, including reports of their competitors’ activities obtained

from producers, back to their respective head offices and other field buyers through their

daily conference calls.

          204.   For example, Witness 2 reported that the field buyers from Tyson, JBS,

Cargill, and National Beef assigned to his feedlot would call him each week to confirm

who bought his cattle that week and on what terms. The field buyers would request such

information even when they had not placed a bid that week. Witness 2 felt obliged to

provide such information and would acquiesce to their requests. Field buyers from Tyson,

JBS, Cargill, and National Beef make similar inquiries of other producers and feedlots

across the feeding regions. Most producers would provide such information on request,

unwilling to risk alienating one of their buyers.



     51
        See   About       NAMI,       NAT’L      AM.      MEAT      ASS’N          (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/204/pid/204;     Events,          NAT’L
AMERICAN                      MEAT                     ASS’N                       (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/10422/pid/10422.

                                           - 74 -
        205.   Tyson, JBS, Cargill, and National Beef would also direct their field buyers

and other staff to drive past their competitors’ plants to determine and report upon those

plants’ operating levels (for example, whether the plant had reduced labor hours or was

operating on Saturday). Tyson had a standing policy which precluded these directives, and

the resulting reports about their competitors’ operations, from being put into writing. Such

communications were effectuated through phone calls. On information and belief, JBS,

Cargill, and National Beef operate similar policies. The activities of their respective

competitors, including their slaughter volumes, would also be discussed by those attending

Tyson, JBS, Cargill, and National Beef’s daily planning meetings.

        206.   Combined with widespread formal and informal reporting of fed cattle and

beef bids, transactions and volumes, and each slaughter plant’s current and planned output,

these activities enable Meatpacking Defendants to monitor each other’s adherence to any

anticompetitive agreement. The purchasing dynamics of the fed cattle market, with its

weekly cash trade, also provide Meatpacking Defendants with the ability to punish any

suspected non-compliance with such an agreement.52




   52
       Research shows that markets, such as the fed cattle market, in which a large
number of sellers make repetitive sales to a small group of purchasers, facilitate the
formation and maintenance of price-fixing agreements as they provide opportunities for
the purchasers to agree, sustain, and enforce market sharing arrangements. R. Posner,
ANTITRUST LAW 68 (2nd ed. 2001); and Price Fixing, Bid Rigging, and Market
Allocation Schemes: What They Are and What to Look For, U.S. DEPARTMENT OF
JUSTICE, ANTITRUST DIVISION, www.justice.gov/atr/public/guidelines/211578.htm.

                                           - 75 -
K.     The Meatpacking Defendants actively concealed the conspiracy.

       207.   Throughout the Class Period, the Meatpacking Defendants effectively,

affirmatively, and fraudulently concealed their unlawful combination and conspiracy from

plaintiffs and class members.

       208.   The combination and conspiracy alleged herein was fraudulently concealed

by the Meatpacking Defendants by various means and methods, including, but not limited

to (i) communicating with each other by telephone about their purchases and slaughter

volumes so that they would not have written evidence of sharing this information with a

competitor, as well as relying on non-public forms of communication; (ii) offering false or

pretextual reasons for low fed cattle prices; (iii) offering pretextual justifications for their

plant closures, slaughter reductions, and withdrawal from the cash cattle trade; (iv)

affirmatively misrepresenting that they complied with applicable laws and regulations,

including antitrust laws; and (v) misrepresenting the nature of their agreements (and

purported adherence to competitive safeguards) to government officials and to the public.

       209.   The Meatpacking Defendants offered pretextual justifications for plant

closures, slaughter reductions, and withdrawal from the cash cattle trade. The Meatpacking

Defendants also offered pretextual reasons for low fed cattle prices. Just some, but by no

means all, examples are as follows:

       210.   In furtherance of the conspiracy, Tyson repeatedly issued pretextual public

statements to conceal Defendants’ conspiracy. For example, in their SEC filings between

2015 and2018, Tyson stated that it had “limited or no control” over the production and

pricing of cattle, rather, the price is “determined by constantly changing market forces of

                                             - 76 -
supply and demand.” 53 According to Tyson, factors that affect the cost of cattle include

“weather patterns throughout the world, outbreaks of disease, the global level of supply

inventories and demand for grains and other feed ingredients, as well as agricultural and

energy policies of domestic and foreign governments.” 54 Additionally, Tyson stated that it

“ceased operations at our Denison, Iowa plant” in order to “better align our overall

production capacity with current cattle supplies.” 55 Furthermore, Tyson stated, “[t]he Beef

segment earnings improved . . . due to more favorable market conditions associated with

an increase in cattle supply which resulted in lower fed cattle costs.” 56

        211.   Tyson made these pretextual public statements in order to conceal its

participation in the conspiracy. Rather than disclose that their improved earnings were in

fact the supracompetitive profits of Defendants’ unlawful conspiracy, Tyson instead




   53
       Tyson Foods, Inc., Annual Report (Form 10-K) at 7 (Oct. 3, 2015); Tyson Foods,
Inc., Annual Report (Form 10-K) at 7 (Oct. 1, 2016); Tyson Foods, Inc., Annual Report
(Form 10-K) at 6 (Sept. 30, 2017); Tyson Foods, Inc., Annual Report (Form 10-K), at 7-8
(Sept. 29, 2018).
   54
       Tyson Foods, Inc., Annual Report (Form 10-K) at 7 (Oct. 3, 2015); Tyson Foods,
Inc., Annual Report (Form 10-K), at 7 (Oct. 1, 2016); Tyson Foods, Inc., Annual Report
(Form 10-K) at 6 (Sept. 30, 2017); Tyson Foods, Inc., Annual Report (Form 10-K), at 7-8
(Sept. 29, 2018).
   55
       Tyson Foods, Inc., Annual Report (Form 10-K), at 56 (Oct. 3, 2015); Tyson Foods,
Inc., Annual Report (Form 10-K), at 54, 68 (Oct. 1, 2016); Tyson Foods, Inc., Annual
Report (Form 10-K), at 57, 72 (Sept. 30, 2017).
   56
       Tyson Foods, Inc., Annual Report (Form 10-K) at 23 (Oct. 1, 2016); see also Tyson
Foods, Inc., Annual Report (Form 10-K), at 23 (Sept. 30, 2017) (“The Beef segment
experienced strong export demand and more favorable domestic market conditions
associated with an increase in cattle supply.”); Tyson Foods, Inc., Annual Report (Form
10-K), at 25 (Sept. 29, 2018) (same).

                                            - 77 -
offered the innocuous pretexts of “lower fed cattle costs” and “favorable market

conditions.” 57

        212.   In furtherance of the conspiracy, JBS repeatedly issued pretextual public

statements to conceal Defendants’ conspiracy. For example, in November 2015, JBS

executive, Andre Nogueira, stated that “Cattle price will go down” in the United States

because “we are going to see more cattle available.”58 In March 2016, JBS CEO, Wesley

Mendonca Batista, similarly stated that JBS would enjoy “better margin[s]” because of an

“increase in the herd in the U.S.”59 Similar statements continued throughout 2016 and into

2017 and 2018, with JBS executives repeatedly stating that its strong financial performance

in the United States was due to “more cattle available in the U.S.,”60 “cattle price[s] . . .

[being] back to the normal level,”61 “greater cattle availability,”62 and “strong demand for

beef.”63

        213.   JBS made these pretextual public statements in order to conceal its

participation in the conspiracy. Rather than disclose that the “improvement in EBITDA


   57
       Tyson Foods, Inc., Annual Report (Form 10-K) at 23 (Oct. 1, 2016); see also Tyson
Foods, Inc., Annual Report (Form 10-K) at 23 (Sept. 30, 2017) (“The Beef segment
experienced strong export demand and more favorable domestic market conditions
associated with an increase in cattle supply.”); Tyson Foods, Inc., Annual Report (Form
10-K) at 25 (Sept. 29, 2018) (same).
   58
        JBS, Q3 2015 Earnings Call, Bloomberg Transcript (Nov. 12, 2015) at 11.
   59
        JBS, Q4 2015 Earnings Call, Bloomberg Transcript (Mar. 17, 2016) at 6.
   60
        JBS, Q2 2016 Earnings Call, Bloomberg Transcript (Aug. 11, 2016) at 6.
   61
        JBS, Q3 2016 Earnings Call, Bloomberg Transcript (Nov. 16, 2016) at 10.
   62
        JBS, Q1 2017 Earnings Call, Bloomberg Transcript (May 16, 2017) at 2.
   63
        JBS, Q2 2018 Earnings Call, Bloomberg Transcript (Aug. 15, 2018) at 4.

                                           - 78 -
margin”64 JBS in fact, reflected the supracompetitive profits of Defendants’ unlawful

conspiracy, it instead offered the innocuous pretexts of “greater cattle availability” and

cattle prices mysteriously being “back to the normal level.”

        214.   In furtherance of the conspiracy, Cargill repeatedly issued pretextual public

statements to conceal Defendants’ conspiracy. For example, in May 2018, Cargill reported

that “excellent results in North American beef” led the company’s Animal Nutrition &

Protein segment to deliver the largest share of corporate earnings on the year. Cargill

concealed the true reason for its “excellent results,” instead attributing them simply to

“lower cattle costs and rising demand in both domestic and export markets.”65 Similarly,

in its 2017 Annual Report, Cargill reported that “favorable market conditions in North

America” were simply the product of “[r]enewed consumer demand for beef . . . ”66 In

2018, Cargill announced that its Animal Nutrition & Protein business surpassed even the

prior year’s “strong performance,” “fueled by rising domestic and export demand for North

American beef . . . ”67

        215.   Cargill made these pretextual public statements in order to conceal its

participation in the conspiracy. Rather than disclose that its “excellent results” were in fact


   64
        Id.
   65
       Cargill, Inc. Management’s Discussion and Analysis of Financial Condition and
Results of Operations for the three months and year ended May 31, 2018, Municipal
Secondary Market Disclosure Filing Sheet, at 2 (Aug. 14, 2018).
   66
        Cargill,      Inc.,      2017      Annual         Report                  at         1,
https://www.cargill.com/doc/1432094802973/2017-annual-report.pdf.
   67
        Cargill,      Inc.,      2018      Annual         Report                  at         3,
https://www.cargill.com/doc/1432124831909/2018-annual-report.pdf.

                                            - 79 -
the supracompetitive profits of Defendants’ unlawful conspiracy, Cargill instead offered

the innocuous pretexts of “lower cattle costs” and “rising demand.”

        216.   In furtherance of the conspiracy, National Beef repeatedly issued pretextual

public statements to conceal Defendants’ conspiracy. On information and belief, National

Beef was the original and knowing source of every pretextual public statement ostensibly

made by Jefferies Financial Group68 and Marfrig Global Foods S.A.69 to conceal

Defendants’ conspiracy. For example, in October 2015, Jefferies Financial Group stated

that the expected expansion of the cow-herd “bodes well for [packing industry] margins as

it will lead to an increase in the number of fed cattle available for slaughter.” 70 In October

2016, Jefferies Financial Group touted that the “rebuilding of the domestic US cattle herd

ha[d] dramatically affected the market for fed cattle” when explaining how “[f]rom June

27, 2015 to June 25, 2016, the average market price per pound of fed cattle has fallen from

$1.48 to $1.16.”71 Jefferies Financial Group continued to offer similar explanations

throughout 2017 and 2018, noting, for example, that: “National Beef generated record


   68
      National Beef’s controlling shareholder prior to June 2018. Jefferies Financial
Group Inc., Annual Report, (Form 10-K) at 6 (Jan. 10, 2019) (“Jefferies 2018 Annual
Report”). After the acquisition, Jefferies Financial Group, retained a 31% interest in
National Beef.
   69
        A Brazilian meatpacking conglomerate with operations around the world. Since
June 2018, Marfrig owns a controlling interest in National Beef Packing Company, LLC.
Marfrig Concludes Acquisition of National Beef, Marfrig (Jun. 6, 2018),
http://www.marfrig.com.br/en/documentos?id=780.
   70
      Leucadia National Corporation (Jefferies Financial Group), 2015 Investor Day
Presentation at 118 (Oct. 8, 2015).
   71
      Leucadia National Corporation (Jefferies Financial Group), 2016 Investor Meeting
Presentation at 53 (Oct. 5, 2016).

                                            - 80 -
results for [Last Twelve Months] on the back of a more balanced supply of cattle and robust

end market demand”;72 “an increased supply of cattle in 2017 has driven higher margins

and greater capacity utilization versus 2016”;73 “pre-tax income grew by $78.3 million, as

increased cattle availability and strong demand for beef continued to support strong

margins”;74 and “because the peak in supply of fed cattle ready for slaughter lags the peak

size of the beef cowherd, throughput should continue to increase for at least the next several

years, supporting continued above-average packer margins.”75 National Beef’s CEO and

President, Tim Klein, attended the Jefferies Financial Group Investor Day presentations in

2015, 2016, and 2017 at which the above statements were made.76 Mr. Klein was the

designated speaker for the portion of these events directed to National Beef’s performance.

         217.   Marfrig Global Foods S.A. continued to offer similar pretextual explanations

for the low prices caused by Meatpacking Defendants’ anticompetitive agreement after it


   72
       Leucadia National Corporation (Jefferies Financial Group), 2017 Investor Meeting
at 1 (Oct. 5, 2017).
   73
         Id. at 58.
   74
         Jefferies Financial Group Inc., 2017 Annual Report (Form 10-K) at 33 (Feb. 28,
2018).
   75
        Jefferies Financial Group Inc, 2018 Investor Meeting at 61 (Oct. 4, 2018). National
Beef director, and Jefferies Capital Partners Managing Director, Nick Daraviras, presented
in relation to National Beef at this event, further noting that “favorable supply and demand
dynamics continue, leading to an enhanced margin environment industry-wide”.
   76
        Press Release, Leucadia to Host Investor Day on October 8, 2015, Leucadia
National      Corporation   (Jefferies  Financial     Group)     (Sept.    1,    2015),
http://www.leucadia.com/All/1/1113; Press Release, Leucadia to Host Investor Day on
October 5, 2016, Leucadia National Corporation (Jefferies Financial Group) (Sep. 12,
2015), http://www.leucadia.com/All/1/1113; Press Release, Leucadia to Host Investor Day
on October 5, 2017, Leucadia National Corporation (Jefferies Financial Group) (Sept. 13,
2017), http://www.leucadia.com/All/1/1113.

                                            - 81 -
bought a controlling stake in National Beef. For example, in November 2018, Marfrig

reported that “[i]n the United States, the cattle availability combined with stronger

domestic and international demand has been supporting better margins.”77 Marfrig

executives reiterated the point on the company’s earnings call for the third quarter of 2018,

stating that “the U.S. beef industry has delivered record results” thanks to “an ample supply

of cattle” and “strong demands [sic] in both the domestic and international markets.”78

Marfrig acknowledged that it achieved these “record results” and “better margins” while

reducing cattle slaughter volumes—but the company claimed that its reduced slaughter

volumes were merely the result of there being “fewer weeks in the third quarter 2018

compared to the third quarter 2017.”79 National Beef CEO, Tim M. Klein—referred to as

“CEO of [Marfrig’s] North American Operations” by Marfrig CEO, Eduardo de Oliveira

Miron—participated in this call.80 Similarly, in the fourth quarter of 2018, Marfrig

announced that it achieved a “[s]olid result from North America Operation, sustained by

strong demand for beef protein and the higher cattle availability.”81

        218.    Jefferies and Marfrig made these pretextual public statements on behalf of

National Beef in order to conceal its participation in the conspiracy. Rather than disclose

that its “record results” and “better margins” in fact reflected the supracompetitive profits


   77
        Marfrig Global Foods S.A., Earnings Release 3Q18 (Nov. 5, 2018) at 2.
   78
        Marfrig, Q3 2018 Earnings Call, Bloomberg Transcript (Nov. 6, 2018) at 5.
   79
        Id. at 3.
   80
        Id. at 2.
   81
       Marfrig Global Foods, Earnings Conference Call 4Q18 and 2018 Presentation (Feb.
28, 2018) at 8.

                                           - 82 -
of Meatpacking Defendants’ unlawful conspiracy, Jefferies and Marfrig echoed the

innocuous pretexts offered up by the Tyson, JBS, and Cargill Defendants—suggesting,

falsely, that “ample supply of cattle,” “higher cattle availability,” and “strong demand”

were responsible for its supracompetitive profits.

         219.   The Meatpacking Defendants’ conspiracy was inherently self-concealing

because it relied on secrecy for its successful operation. Had the public learned that

Defendants conspired to lower supply and effectively fix prices, their conspiracy could not

have continued for as long as it did.

         220.   Although the federal government recently was asked to review factors

affecting pricing in the U.S. cattle market, the Government Accountability Office (GAO)

had limited investigative authority in producing its April 2018 report, and “did not obtain

and review internal packer documents.”82 The GAO’s analysis explicitly “did not include

a review of whether packers engaged in anticompetitive behavior” of the type complained

herein.83 Plaintiffs also were not able to obtain or review internal packer documents to learn

about Defendants’ misconduct.

         221.   Because of Defendants’ fraudulent concealment, Plaintiffs and the Class had

insufficient information concerning Defendants’ misconduct on which to base a complaint,




   82
      U.S. Gov’t Accountability Off., GAO-18-296, U.S. Dep’t of Agriculture: Additional
Data Analysis Could Enhance Monitoring of U.S. Cattle Market 16 (Apr. 2018),
https://www.gao.gov/assets/700/691178.pdf at 28-29.
   83
        Id.

                                            - 83 -
and could not have discovered it through the exercise of due diligence until recently.

Plaintiffs have acted diligently in seeking to bring their claims promptly.

       222.   Accordingly, by virtue of the fraudulent concealment of their wrongful

conduct by the Meatpacking Defendants and all of their co-conspirators, the running of any

statute of limitations has been tolled and suspended with respect to any claims and rights

of action that plaintiffs and the other class members have as a result of the unlawful

combination and conspiracy alleged in this complaint.

L.     The Meatpacking Defendants’ conspiracy continues through the present.

       223.   As alleged herein, the Meatpacking Defendants’ price-fixing conspiracy

lasted from at least January 1, 2015 and continues through the present.

       224.   Tyson, JBS, Cargill, and National Beef each engaged in the conspiracy to fix

and suppress the price of fed cattle in the United States.

       225.    As a result of the anticompetitive conduct challenged in this Complaint,

throughout the Class Period, the Meatpacking Defendants were able to and did purchase

cattle at artificially suppressed cash prices and purchase cattle at artificially suppressed

prices pursuant to formula, forward, and/or grid contracts throughout the Class Period.

       226.   Each Meatpacking Defendant’s purchase for fed cattle at artificial and non-

competitive price constituted a new overt act causing injury to the proposed Classes.

       227.   The Meatpacking Defendants’ purchases pursuant to the conspiracy

continued throughout the Class Period and, accordingly members of the proposed Class

were injured and may recover for damages suffered at any point in the conspiracy.




                                            - 84 -
       228.   The Meatpacking Defendants continue to engage in the anticompetitive

conduct alleged herein, and continue to be able to and do purchase cattle at artificially

suppressed cash prices and purchase cattle at artificially suppressed prices pursuant to

formula, forward, and/or grid contracts throughout the Class Period.

       229.   The Meatpacking Defendants’ unlawful communications regarding pricing

and procurement decisions continue to this day.

                      VII.   CLASS ACTION ALLEGATIONS

       230.   Plaintiffs bring this action on behalf of themselves, and as a class action

under the Federal Rules of Civil Procedure, Rule 23(a), (b)(2) and (b)(3), seeking

injunctive relief pursuant to federal law, and damages pursuant to various state antitrust,

unfair competition, unjust enrichment, and consumer protection laws of the states listed

below on behalf of the members of the following classes:

              A.   Nationwide Injunctive Relief class: All persons and entities who
                   indirectly purchased beef from defendants or co-conspirators for
                   personal use in the United States during the Class Period.

              B.   Arizona class: All persons and entities who indirectly purchased beef
                   from defendants or co-conspirators for personal use in Arizona during
                   the Class Period.

              C.   California class: All persons and entities who indirectly purchased
                   beef from defendants or co-conspirators for personal use in California
                   during the Class Period.

              D.   District of Columbia class: All persons and entities who indirectly
                   purchased beef from defendants or co-conspirators for personal use in
                   the District of Columbia during the Class Period.

              E.   Florida class: All persons and entities who indirectly purchased beef
                   from defendants or co-conspirators for personal use in Florida during
                   the Class Period.

                                          - 85 -
F.   Hawaii class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Hawaii during
     the Class Period.

G.   Illinois class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Illinois during
     the Class Period.

H.   Iowa class: All persons and entities who indirectly purchased beef from
     defendants or co-conspirators for personal use in Iowa during the Class
     Period.

I.   Kansas class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Kansas during
     the Class Period.

J.   Maine class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Maine during the
     Class Period.

K.   Massachusetts class: All persons and entities who indirectly purchased
     beef from defendants or co-conspirators for personal use in
     Massachusetts during the Class Period.

L.   Michigan class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Michigan during
     the Class Period.

M. Minnesota class: All persons and entities who indirectly purchased
   beef from defendants or co-conspirators for personal use in Minnesota
   during the Class Period.

N.   Mississippi class: All persons and entities who indirectly purchased
     beef from defendants or co-conspirators for personal use in Mississippi
     during the Class Period.

O.   Missouri class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Missouri during
     the Class Period.




                            - 86 -
P.   Montana class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Montana during
     the Class Period.

Q.   Nebraska class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Nebraska during
     the Class Period.

R.   Nevada class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Nevada during
     the Class Period.

S.   New Hampshire class: All persons and entities who indirectly
     purchased beef from defendants or co-conspirators for personal use in
     New Hampshire during the Class Period.

T.   New Mexico class: All persons and entities who indirectly purchased
     beef from defendants or co-conspirators for personal use in New
     Mexico during the Class Period.

U.   New York class: All persons and who indirectly purchased beef from
     defendants or co-conspirators for personal use in New York during the
     Class Period.

V.   North Carolina class: All persons and entities who indirectly
     purchased beef from defendants or co-conspirators for personal use in
     North Carolina during the Class Period.

W. North Dakota class: All persons and entities who indirectly purchased
   beef from defendants or co-conspirators for personal use in North
   Dakota during the Class Period.

X.   Oregon class: All persons and entities who indirectly purchased beef
     from defendants or co-conspirators for personal use in Oregon during
     the Class Period.

Y.   Rhode Island class: All persons and entities who indirectly purchased
     beef from defendants or co-conspirators for personal use in Rhode
     Island during the Class Period.

Z.   South Carolina class: All persons and entities who indirectly
     purchased beef from defendants or co-conspirators for personal use in
     South Carolina during the Class Period.

                           - 87 -
              AA. South Dakota class: All persons and entities who indirectly purchased
                  beef from defendants or co-conspirators for personal use in South
                  Dakota during the Class Period.

              BB. Tennessee class: All persons and entities who indirectly purchased beef
                  from defendants or co-conspirators for personal use in Tennessee
                  during the Class Period.

              CC. Utah class: All persons and entities who indirectly purchased beef from
                  defendants or co-conspirators for personal use in Utah during the Class
                  Period.

              DD. West Virginia: All persons and entities who indirectly purchased beef
                  from defendants or co-conspirators for personal use in West Virginia
                  during the Class Period.

              EE. Wisconsin class: All persons and entities who indirectly purchased beef
                  from defendants or co-conspirators for personal use in Wisconsin
                  during the Class Period.

       231.   The state classes are collectively referred to as the “classes” unless otherwise

indicated. Specifically excluded from these classes are the defendants; the officers,

directors or employees of any defendant; any entity in which any defendant has a

controlling interest; and any affiliate, legal representative, heir or assign of any defendant.

Also excluded from these classes are any federal, state or local governmental entities, any

judicial officer presiding over this action and the members of his/her immediate family and

judicial staff, any juror assigned to this action, and any co-conspirator identified in this

action. Further excluded from the classes and National Injunctive Relief Class are

purchasers of value-added products not manufactured, supplied or processed by

defendants, or otherwise not under the control of defendants.




                                            - 88 -
       232.   Class Identity: The above-defined classes are readily identifiable and is one

for which records should exist.

       233.   Numerosity: Plaintiffs do not know the exact number of class members

because such information presently is in the exclusive control of defendants, retailers,

resellers and other entities in the supply chain of beef. Plaintiffs believe that due to the

nature of the trade and commerce involved, there are thousands of class members

geographically dispersed throughout the United States, such that joinder of all class

members is impracticable.

       234.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the

classes because plaintiffs purchased beef indirectly from one or more of the defendants for

personal use, and therefore plaintiffs’ claims arise from the same common course of

conduct giving rise to the claims of the classes and the relief sought is common to the

classes.

       235.   Common Questions Predominate: There are questions of law and fact

common to the classes, including, but not limited to:

           A. Whether defendants and their co-conspirators engaged in an agreement,
              combination, or conspiracy to fix, raise, elevate, maintain, or stabilize prices
              of beef sold in interstate commerce in the United States;

           B. The identity of the participants of the alleged conspiracy;

           C. The duration of the conspiracy alleged herein and the acts performed by
              defendants and their co-conspirators in furtherance of the conspiracy;

           D. Whether the alleged conspiracy violated the antitrust and consumer
              protection laws of the various states;




                                            - 89 -
          E. Whether the conduct of defendants and their co-conspirators, as alleged in
             this Complaint, caused injury to the business or property of the plaintiffs and
             the other members of the classes;

          F. The effect of defendants’ alleged conspiracy on the prices of beef sold in the
             United States during the Class Period;

          G. Whether plaintiffs and other members of the classes are entitled to, among
             other things, injunctive relief and if so, the nature and extent of such
             injunctive relief; and

          H. The appropriate class-wide measure of damages.

These and other questions of law or fact, which are common to the members of the

classes, predominate over any questions affecting only individual members of the classes.

       236.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the

classes in that plaintiffs’ interests are aligned with, and not antagonistic to, those of the

other members of the classes who indirectly purchased beef from defendants and plaintiffs

have retained counsel competent and experienced in the prosecution of class actions and

antitrust litigation to represent themselves and the classes.

       237.   Superiority: A class action is superior to other available methods for the fair

and efficient adjudication of this controversy since individual joinder of all damaged

members of the classes is impractical. Prosecution as a class action will eliminate the

possibility of duplicative litigation. The relatively small damages suffered by individual

members of the classes compared to the expense and burden of individual prosecution of

the claims asserted in this litigation means that, absent a class action, it would not be

feasible for members of the classes to seek redress for the violations of law herein alleged.

Further, individual litigation presents the potential for inconsistent or contradictory


                                            - 90 -
judgments and would greatly magnify the delay and expense to all parties and to the court

system. Therefore, a class action presents far fewer case management difficulties and will

provide the benefits of unitary adjudication, economy of scale and comprehensive

supervision by a single court.

          238.   The prosecution of separate actions by individual members of the classes

would create the risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for defendants.

          239.   Plaintiffs bring the classes on behalf of all persons similarly situated pursuant

to Rule 23, on behalf of all persons and entities that, as residents of various states, indirectly

purchased one or more beef products that a defendant or co-conspirator produced for

personal use during the respective class periods.

          240.   Defendants have acted on grounds generally applicable to the classes,

thereby making final injunctive relief appropriate with respect to the classes as a whole.

                                  VIII. ANTITRUST INJURY

          241.   Defendants’ anticompetitive conduct had the following effects, among

others:

             A. Price competition has been restrained or eliminated with respect to beef;

             B. The prices of beef have been fixed, raised, stabilized, or maintained at

                 artificially inflated levels;

             C. Indirect purchasers of beef have been deprived of free and open competition;

                 and




                                                 - 91 -
          D. End-user consumers of beef who indirectly purchased beef for personal use,

              including plaintiffs, paid artificially inflated prices.

       242.   The beef that plaintiffs and class members purchased was in substantially the

same form as when they were initially sold by defendants. As a result, the beef follows a

traceable physical chain from defendants to plaintiffs and class members, and the

overcharges on beef can be traced from defendants to plaintiffs and class members.

       243.   As discussed in detail, as a matter of economic principle, firms must recover

the short-run variable costs of production when they price their products for the market,

which ultimately get passed to consumers, plaintiffs and class members here, in the form

of higher retail prices. When demand is inelastic, as it is for beef, the pass-through rate to

end users is at or near 100 percent.

       244.   Consequently, while the direct purchasers were the first to pay supra-

competitive prices, the overcharge was passed along the distribution chain and absorbed

by plaintiffs and class members when they purchased the beef for personal use.

       245.   Commonly used and well-accepted economic models can be used to measure

both the extent and the amount of the supra-competitive charge passed through the chain

of distribution to end-user consumers. Thus, the economic harm to plaintiffs and the class

member can be quantified.

       246.   The purpose of the conspiratorial conduct of defendants and their co-

conspirators was to raise, fix, or maintain the price of beef and, as a direct and foreseeable

result. Plaintiffs and the classes paid supra-competitive prices for beef during the Class

Period.

                                             - 92 -
       247.   By reason of the alleged violations of the antitrust laws, plaintiffs and the

classes have sustained injury to their businesses or property, having paid higher prices for

beef than they would have paid in the absence of defendants’ illegal contract, combination,

or conspiracy and as a result have suffered damages.

       248.   This is an antitrust injury of the type that the antitrust laws were meant to

punish and prevent.

                               IX.    CAUSES OF ACTION

                        VIOLATION OF THE SHERMAN ACT

                   FIRST CLAIM FOR RELIEF
         VIOLATION OF SECTION 1 OF THE SHERMAN ACT
                          15 U.S.C. § 1
(ON BEHALF OF NATIONWIDE CLASS FOR INJUNCTIVE AND EQUITABLE
                           RELIEF)

       249.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       250.   Beginning at a time currently unknown to plaintiffs, but at least as early as

2015, and continuing through the present, the exact dates being unknown to plaintiffs,

defendants and their co-conspirators entered into a continuing agreement, understanding,

and conspiracy in restraint of trade artificially to fix, raise, and stabilize price for beef in

the United States, in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

       251.   In formulating and carrying out the alleged agreement, understanding, and

conspiracy, defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set

forth above, and the following, among others:


                                             - 93 -
          A. Fixing, raising, and stabilizing the price of beef; and

          B. Allocating among themselves and collusively reducing the production of

              beef.

       252.   The combination and conspiracy alleged herein has had the following effects,

among others:

              A. Price competition in the sale of beef has been restrained, suppressed,

                 and/or eliminated in the United States;

              B. Prices for beef sold by defendants and all of their co-conspirators have

                 been fixed, raised, maintained and stabilized at artificially high, non-

                 competitive levels throughout the United States; and

              C. Those who purchased beef indirectly from defendants and their co-

                 conspirators for their personal use have been deprived of the benefits of

                 free and open competition.

       253.   Plaintiffs and members of the classes have been injured and will continue to

be injured in their businesses and property by paying more for beef purchased indirectly

from the defendants and their co-conspirators for their personal use than they would have

paid and will pay in the absence of the combination and conspiracy.

       254.   Plaintiffs and members of the classes are entitled to an injunction against

defendants, preventing and restraining the violations alleged herein.

                      VIOLATIONS OF STATE ANTITRUST LAWS

       255.   Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

                                           - 94 -
       256.   The following claims for relief are pleaded under the antitrust laws of each

jurisdiction identified below on behalf of the indicated class.

                    SECOND CLAIM FOR RELIEF
      VIOLATION OF ARIZONA’S UNIFORM STATE ANTITRUST ACT,
                 ARIZ. REV. STAT. § 44-1401, ET SEQ.
               (ON BEHALF OF THE ARIZONA CLASS)

       257.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this complaint.

       258.   By reason of the conduct alleged herein, defendants have violated Arizona

Rev. Stat. § 44-1401, et seq.

       259.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within Arizona.

       260.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Arizona, for the purpose of excluding competition or controlling, fixing,

or maintaining prices in the beef market.

       261.   Defendants’ violations of Arizona law were flagrant.

       262.   Defendants’ unlawful conduct substantially affected Arizona’s trade and

commerce.

       263.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Arizona Class have been injured in their business or property and are

threatened with further injury.



                                            - 95 -
         264.   By reason of the foregoing, plaintiffs and members of the Arizona Class are

entitled to seek all forms of relief available under Arizona Revised Statute § 44-1401, et

seq.

                          THIRD CLAIM FOR RELIEF
                VIOLATION OF CALIFORNIA’S CARTWRIGHT ACT,
                    CAL. BUS. & PROF. CODE § 16700, ET SEQ.
                   (ON BEHALF OF THE CALIFORNIA CLASS)

         265.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         266.   The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§ 16700-16770, governs

antitrust violations in California.

         267.   California policy is that “vigorous representation and protection of consumer

interests are essential to the fair and efficient functioning of a free enterprise market

economy,” including by fostering competition in the marketplace. Cal. Bus. & Prof. Code

§ 301.

         268.   Under the Cartwright Act, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. Cal. Bus. & Prof. Code § 16750(a).

         269.   A trust in California is any combination intended for various purposes,

including but not limited to creating or carrying out restrictions in trade or commerce,

limiting or reducing the production or increasing the price of merchandise, or preventing

competition in the market for a commodity. Cal. Bus. & Prof. Code § 16720. Every trust

in California is unlawful except as provided by the Code. Id. at § 16726.



                                             - 96 -
       270.   Plaintiffs purchased beef within the State of California during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       271.   Defendants enacted a combination of capital, skill or acts for the purpose of

creating and carrying out restrictions in trade or commerce, in violation of Cal. Bus. &

Prof. Code § 16700, et seq.

       272.   Plaintiffs and members of the California Class were injured in their business

or property, with respect to purchases of beef in California and are entitled to all forms of

relief, including recovery of treble damages, interest, and injunctive relief, plus reasonable

attorneys’ fees and costs.

                    FOURTH CLAIM FOR RELIEF
      VIOLATION OF THE DISTRICT OF COLUMBIA ANTITRUST ACT,
                     D.C. CODE § 28-4501, ET SEQ.
          (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

       273.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       274.   The policy of District of Columbia Code, Title 28, Chapter 45 (Restraints of

Trade) is to “promote the unhampered freedom of commerce and industry throughout the

District of Columbia by prohibiting restraints of trade and monopolistic practices.”

       275.   Plaintiffs purchased beef within the District of Columbia during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.




                                            - 97 -
       276.   Under District of Columbia law, indirect purchasers have standing to

maintain an action under the antitrust provisions of the D.C. Code based on the facts alleged

in this Complaint, because “any indirect purchaser in the chain of manufacture, production

or distribution of goods . . . shall be deemed to be injured within the meaning of this

chapter.” D.C. Code § 28-4509(a).

       277.   Defendants contracted, combined or conspired to act in restraint of trade

within the District of Columbia, and monopolized or attempted to monopolize the market

for beef within the District of Columbia, in violation of D.C. Code § 28-4501, et seq.

       278.   Plaintiffs and members of the District of Columbia Class were injured with

respect to purchases of beef in the District of Columbia and are entitled to all forms of

relief, including actual damages, treble damages, and interest, reasonable attorneys’ fees

and costs.

                          FIFTH CLAIM FOR RELIEF
                VIOLATION OF THE ILLINOIS ANTITRUST ACT,
                  740 ILL. COMP. STAT. ANN. 10/3(1), ET SEQ.
                    (ON BEHALF OF THE ILLINOIS CLASS)

       279.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       280.   The Illinois Antitrust Act, 740 ILCS 10/1, et seq., aims “to promote the

unhampered growth of commerce and industry throughout the State by prohibiting

restraints of trade which are secured through monopolistic or oligarchic practices and

which act or tend to act to decrease competition between and among persons engaged in

commerce and trade. . . .” 740 ILCS 10/2.



                                            - 98 -
       281.   Plaintiffs purchased beef within the State of Illinois during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       282.   Under the Illinois Antitrust Act, indirect purchasers have standing to

maintain an action for damages based on the facts alleged in this Complaint. 740 ILCS

10/7(2).

       283.   Defendants made contracts or engaged in a combination or conspiracy with

each other, though they would have been competitors but for their prior agreement, for the

purpose of fixing, controlling or maintaining prices for beef sold, and/or for allocating

customers or markets for beef within the intrastate commerce of Illinois.

       284.   Defendants further unreasonably restrained trade or commerce and

established, maintained or attempted to acquire monopoly power over the market for beef

in Illinois for the purpose of excluding competition, in violation of 740 ILCS 10/1, et seq.

       285.   Plaintiffs and members of the Illinois Class were injured with respect to

purchases of beef in Illinois and are entitled to all forms of relief, including actual damages,

treble damages, reasonable attorneys’ fees and costs.

                          SIXTH CLAIM FOR RELIEF
                 VIOLATION OF THE IOWA COMPETITION LAW
                         IOWA CODE § 553.1, ET SEQ.
                      (ON BEHALF OF THE IOWA CLASS)

       286.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




                                             - 99 -
       287.    The Iowa Competition Law aims to “prohibit[] restraint of economic activity

and monopolistic practices.” Iowa Code § 553.2.

       288.    Plaintiffs purchased beef within the State of Iowa during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       289.    Defendants contracted, combined or conspired to restrain or monopolize

trade in the market for beef, and attempted to establish or did in fact establish a monopoly

for the purpose of excluding competition or controlling, fixing or maintaining prices for

beef, in violation of Iowa Code § 553.1, et seq.

       290.    Plaintiffs and members of the Iowa Class were injured with respect to

purchases of beef in Iowa, and are entitled to all forms of relief, including actual damages,

exemplary damages for willful conduct, reasonable attorneys’ fees and costs, and

injunctive relief.

                     SEVENTH CLAIM FOR RELIEF
          VIOLATION OF THE KANSAS RESTRAINT OF TRADE ACT
                    KAN. STAT. ANN. § 50-101, ET SEQ.
                  (ON BEHALF OF THE KANSAS CLASS)

       291.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       292.    The Kansas Restraint of Trade Act aims to prohibit practices which, inter

alia, “tend to prevent full and free competition in the importation, transportation or sale of

articles imported into this state.” Kan. Stat. Ann. § 50-112.




                                            - 100 -
       293.   Plaintiffs purchased beef within the State of Kansas during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       294.   Under the Kansas Restraint of Trade Act, indirect purchasers have standing

to maintain an action based on the facts alleged in this Complaint. Kan. Stat. Ann § 50-

161(b).

       295.   Defendants combined capital, skill or acts for the purposes of creating

restrictions in trade or commerce of beef, increasing the price of beef, preventing

competition in the sale of beef, or binding themselves not to sell beef, in a manner that

established the price of beef and precluded free and unrestricted competition among

themselves in the sale of beef, in violation of Kan. Stat. Ann. § 50-101, et seq.

       296.   Plaintiffs and members of the Kansas Class were injured with respect to

purchases of beef in Kansas and are entitled to all forms of relief, including actual damages,

reasonable attorneys’ fees and costs, and injunctive relief.

                        EIGHTH CLAIM FOR RELIEF
              VIOLATION OF THE MAINE’S ANTITRUST STATUTE
                  ME. REV. STAT. ANN. TIT. 10 § 1101, ET SEQ.
                    (ON BEHALF OF THE MAINE CLASS)

       297.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       298.   Part 3 of Title 10 the Maine Revised Statutes generally governs regulation of

trade in Maine. Chapter 201 thereof governs monopolies and profiteering, generally




                                            - 101 -
prohibiting contracts in restraint of trade and conspiracies to monopolize trade. Me. Rev.

Stat. Ann. Tit. 10, §§ 1101-02.

       299.   Plaintiffs purchased beef within the State of Maine during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       300.   Under Maine law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit. 10, § 1104(1).

       301.   Defendants contracted, combined or conspired in restraint of trade or

commerce of beef within the intrastate commerce of Maine, and monopolized or attempted

to monopolize the trade or commerce of beef within the intrastate commerce of Maine, in

violation of Me. Rev. Stat. Ann. Tit. 10, § 1101, et seq.

       302.   Plaintiffs and members of the Maine Class were injured with respect to

purchases of beef in Maine and are entitled to all forms of relief, including actual damages,

treble damages, reasonable attorneys’ and experts’ fees and costs.

                      NINTH CLAIM FOR RELIEF
         VIOLATION OF THE MICHIGAN ANTITRUST REFORM ACT
                 MICH. COMP. LAWS § 445.771, ET SEQ.
                (ON BEHALF OF THE MICHIGAN CLASS)

       303.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       304.   The Michigan Antitrust Reform Act aims “to prohibit contracts,

combinations, and conspiracies in restraint of trade or commerce . . . to prohibit monopolies




                                           - 102 -
and attempts to monopolize trade or commerce . . . [and] to provide remedies, fines, and

penalties for violations of this act.” Mich. Act 274 of 1984.

       305.   Plaintiffs purchased beef within the State of Michigan during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       306.   Under the Michigan Antitrust Reform Act, indirect purchasers have standing

to maintain an action based on the facts alleged in this Complaint. Mich. Comp. Laws. §

452.778(2).

       307.   Defendants contracted, combined or conspired to restrain or monopolize

trade or commerce in the market for beef, in violation of Mich. Comp. Laws § 445.772, et

seq.

       308.   Plaintiffs and members of the Michigan Class were injured with respect to

purchases of beef in Michigan and are entitled to all forms of relief, including actual

damages, treble damages for flagrant violations, interest, costs, reasonable attorneys’ fees,

and injunctive or other appropriate equitable relief.

                        TENTH CLAIM FOR RELIEF
              VIOLATION OF THE MINNESOTA ANTITRUST LAW,
                       MINN. STAT. § 325D.49, ET SEQ.
                  (ON BEHALF OF THE MINNESOTA CLASS)

       309.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       310.   The Minnesota Antitrust Law of 1971 aims to prohibit any contract,

combination or conspiracy when any part thereof was created, formed, or entered into in



                                           - 103 -
Minnesota; any contract, combination or conspiracy, wherever created, formed or entered

into; any establishment, maintenance or use of monopoly power; and any attempt to

establish, maintain or use monopoly power, whenever any of these affect Minnesota trade

or commerce.

       311.    Plaintiffs purchased beef within the State of Minnesota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       312.    Under the Minnesota Antitrust Act of 1971, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. Minn. Stat. §

325D.56.

       313.    Defendants contracted, combined or conspired in unreasonable restraint of

trade or commerce in the market for beef within the intrastate commerce of and outside of

Minnesota; established, maintained, used or attempted to establish, maintain or use

monopoly power over the trade or commerce in the market for beef within the intrastate

commerce of and outside of Minnesota; and fixed prices and allocated markets for beef

within the intrastate commerce of and outside of Minnesota, in violation of Minn. Stat. §

325D.49, et seq.

       314.    Plaintiffs and members of the Minnesota Class were injured with respect to

purchases of beef in Minnesota and are entitled to all forms of relief, including actual

damages, treble damages, costs and disbursements, reasonable attorneys’ fees, and

injunctive relief necessary to prevent and restrain violations hereof.




                                           - 104 -
                     ELEVENTH CLAIM FOR RELIEF
            VIOLATION OF THE MISSISSIPPI ANTITRUST STATUTE,
                    MISS. CODE ANN. § 74-21-1, ET SEQ.
                 (ON BEHALF OF THE MISSISSIPPI CLASS)

         315.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         316.   Title 75 of the Mississippi Code regulates trade, commerce and investments.

Chapter 21 thereof generally prohibits trusts and combines in restraint or hindrance of

trade, with the aim that “trusts and combines may be suppressed, and the benefits arising

from competition in business [are] preserved” to Mississippians. Miss. Code Ann. § 75-

21-39.

         317.   Trusts are combinations, contracts, understandings or agreements, express or

implied, when inimical to the public welfare and with the effect of, inter alia, restraining

trade, increasing the price or output of a commodity, or hindering competition in the

production or sale of a commodity. Miss. Code Ann. § 75-21-1.

         318.   Plaintiffs purchased beef within the State of Mississippi during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

         319.   Under Mississippi law, indirect purchasers have standing to maintain an

action under the antitrust provisions of the Mississippi Code based on the facts alleged in

this Complaint. Miss. Code Ann. § 75-21-9.

         320.   Defendants combined, contracted, understood and agreed in the market for

beef, in a manner inimical to public welfare, with the effect of restraining trade, increasing



                                             - 105 -
the price of beef and hindering competition in the sale of beef, in violation of Miss. Code

Ann. § 75-21-1(a), et seq.

       321.   Defendants monopolized or attempted to monopolize the production, control

or sale of beef, in violation of Miss. Code Ann. § 75-21-3, et seq.

       322.   Defendants’ beef is sold indirectly via distributors throughout the State of

Mississippi. During the Class Period, defendants’ illegal conduct substantially affected

Mississippi commerce.

       323.   Plaintiffs and members of the Mississippi Class were injured with respect to

purchases of beef in Mississippi and are entitled to all forms of relief, including actual

damages and a penalty of $500 per instance of injury.

                   TWELFTH CLAIM FOR RELIEF
    VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT,
                  MO. ANN. STAT. § 407.010, ET SEQ.
               (ON BEHALF OF THE MISSOURI CLASS)

       324.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       325.   Chapter 407 of the Missouri Merchandising Practices Act (the “MMPA”)

generally governs unlawful business practices, including antitrust violations such as

restraints of trade and monopolization.

       326.   Plaintiffs purchased beef within the State of Missouri during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.




                                           - 106 -
       327.    Under Missouri law, indirect purchasers have standing to maintain an action

under the MMPA based on the facts alleged in this Complaint. Gibbons v. J. Nuckolls, Inc.,

216 S.W.3d 667, 669 (Mo. 2007).

       328.    Defendants contracted, combined or conspired in restraint of trade or

commerce of beef within the intrastate commerce of Missouri, and monopolized or

attempted to monopolize the market for beef within the intrastate commerce of Missouri

by possessing monopoly power in the market and willfully maintaining that power through

agreements to fix prices, allocate markets and otherwise control trade, in violation of Mo.

Ann. Stat. § 407.010, et seq.

       329.    Plaintiffs and members of the Missouri Class were injured with respect to

purchases of beef in Missouri and are entitled to all forms of relief, including actual

damages or liquidated damages in an amount which bears a reasonable relation to the actual

damages which have been sustained, as well as reasonable attorneys’ fees, costs, and

injunctive relief.

                          THIRTEENTH CLAIM FOR RELIEF
                     VIOLATION OF THE NEBRASKA JUNKIN ACT,
                           NEB. REV. STAT. § 59-801, ET SEQ.
                       (ON BEHALF OF THE NEBRASKA CLASS)

       330.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       331.    Chapter 59 of the Nebraska Revised Statute generally governs business and

trade practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit

antitrust violations such as restraints of trade and monopolization.



                                            - 107 -
       332.    Plaintiffs purchased beef within the State of Nebraska during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       333.    Under Nebraska law, indirect purchasers have standing to maintain an action

under the Junkin Act based on the facts alleged in this Complaint. Neb. Rev. Stat. § 59-

821.

       334.    Defendants contracted, combined or conspired in restraint of trade or

commerce of beef within the intrastate commerce of Nebraska, and monopolized or

attempted to monopolize the market for beef within the intrastate commerce of Nebraska

by possessing monopoly power in the market and willfully maintaining that power through

agreements to fix prices, allocate markets and otherwise control trade, in violation of Neb.

Rev. Stat. § 59-801, et seq.

       335.    Plaintiffs and members of the Nebraska Class were injured with respect to

purchases of beef in Nebraska and are entitled to all forms of relief, including actual

damages or liquidated damages in an amount which bears a reasonable relation to the actual

damages which have been sustained, as well as reasonable attorneys’ fees, costs, and

injunctive relief.

                   FOURTEENTH CLAIM FOR RELIEF
       VIOLATION OF THE NEVADA UNFAIR TRADE PRACTICES ACT,
                  NEV. REV. STAT. § 598A.010, ET SEQ.
                 (ON BEHALF OF THE NEVADA CLASS)

       336.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.



                                            - 108 -
       337.   The Nevada Unfair Trade Practice Act (“NUTPA”) states that “free, open

and competitive production and sale of commodities...is necessary to the economic well-

being of the citizens of the State of Nevada.” Nev. Rev. Stat. Ann. § 598A.030(1).

       338.   The policy of NUTPA is to prohibit acts in restraint of trade or commerce, to

preserve and protect the free, open and competitive market, and to penalize all persons

engaged in anticompetitive practices. Nev. Rev. Stat. Ann. § 598A.030(2). Such acts

include, inter alia, price fixing, division of markets, allocation of customers, and

monopolization of trade. Nev. Rev. Stat. Ann. § 598A.060.

       339.   Plaintiffs purchased beef within the State of Nevada during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       340.   Under Nevada law, indirect purchasers have standing to maintain an action

under NUTPA based on the facts alleged in this Complaint. Nev. Rev. Stat. Ann.

§598A.210(2).

       341.   Defendants fixed prices by agreeing to establish prices for beef in Nevada,

divided Nevada markets, allocated Nevada customers, and monopolized or attempted

monopolize trade or commerce of beef within the intrastate commerce of Nevada,

constituting a contract, combination or conspiracy in restraint of trade in violation of Nev.

Rev. Stat. Ann. § 598A, et seq.

       342.   Plaintiffs and members of the Nevada Class were injured with respect to

purchases of beef in Nevada in that at least thousands of sales of defendants’ beef took




                                           - 109 -
place in Nevada, purchased by Nevada consumers at supra-competitive prices caused by

defendants’ conduct.

       343.   Accordingly, plaintiffs and members of the Nevada Class are entitled to all

forms of relief, including actual damages, treble damages, reasonable attorneys’ fees, costs,

and injunctive relief.

       344.   In accordance with the requirements of § 598A.210(3), notice of this action

was mailed to the Nevada Attorney General by plaintiffs.

                    FIFTEENTH CLAIM FOR RELIEF
         VIOLATION OF NEW HAMPSHIRE’S ANTITRUST STATUTE,
              N.H. REV. STAT. ANN. TIT. XXXI, § 356, ET SEQ.
             (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

       345.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       346.   Title XXXI of the New Hampshire Statutes generally governs trade and

commerce. Chapter 356 thereof governs combinations and monopolies and prohibits

restraints of trade. N.H. Rev. Stat. Ann. §§ 356:2, 3.

       347.   Plaintiffs purchased beef within the State of New Hampshire during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       348.   Under New Hampshire law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.H. Rev. Stat. Ann. § 356:11(II).

       349.   Defendants fixed, controlled or maintained prices for beef, allocated

customers or markets for beef, and established, maintained or used monopoly power, or



                                           - 110 -
attempted to, constituting a contract, combination or conspiracy in restraint of trade in

violation of N.H. Rev. Stat. Ann. § 356:1, et seq.

       350.   Plaintiffs and members of the New Hampshire Class were injured with

respect to purchases of beef in New Hampshire and are entitled to all forms of relief,

including actual damages sustained, treble damages for willful or flagrant violations,

reasonable attorneys’ fees, costs, and injunctive relief.

                       SIXTEENTH CLAIM FOR RELIEF
              VIOLATION OF THE NEW MEXICO ANTITRUST ACT,
                      N.M. STAT. ANN. §§ 57-1-1, ET SEQ.
                  (ON BEHALF OF THE NEW MEXICO CLASS)

       351.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       352.   The New Mexico Antitrust Act aims to prohibit restraints of trade and

monopolistic practices. N.M. Stat. Ann. 57-1-15.

       353.   Plaintiffs purchased beef within the State of New Mexico during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       354.   Under New Mexico law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.M. Stat. Ann. § 57-1-3.

       355.   Defendants contracted, agreed, combined or conspired, and monopolized or

attempted to monopolize trade for beef within the intrastate commerce of New Mexico, in

violation of N.M. Stat. Ann. § 57-1-1, et seq.




                                            - 111 -
       356.   Plaintiffs and members of the New Mexico Class were injured with respect

to purchases of beef in New Mexico and are entitled to all forms of relief, including actual

damages, treble damages, reasonable attorneys’ fees, costs, and injunctive relief.

                SEVENTEENTH CLAIM FOR RELIEF
  VIOLATION OF SECTION 340 OF THE NEW YORK GENERAL BUSINESS
                              LAW
             (ON BEHALF OF THE NEW YORK CLASS)

       357.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       358.   Article 22 of the New York General Business Law general prohibits

monopolies and contracts or agreements in restraint of trade, with the policy of encouraging

competition or the free exercise of any activity in the conduct of any business, trade or

commerce in New York. N.Y. Gen. Bus. Law § 340(1).

       359.   Plaintiffs purchased beef within the State of New York during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       360.   Under New York law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.Y. Gen. Bus. Law § 340(6).

       361.   Defendants established or maintained a monopoly within the intrastate

commerce of New York for the trade or commerce of beef and restrained competition in

the free exercise of the conduct of the business of beef within the intrastate commerce of

New York, in violation of N.Y. Gen. Bus. Law § 340, et seq.




                                           - 112 -
       362.   Plaintiffs and members of the New York Class were injured with respect to

purchases of beef in New York and are entitled to all forms of relief, including actual

damages, treble damages, costs not exceeding $10,000, and reasonable attorneys’ fees.

                  EIGHTEENTH CLAIM FOR RELIEF
       VIOLATION OF THE NORTH CAROLINA GENERAL STATUTES,
                    N.C. GEN. STAT. § 75-1, ET SEQ.
            (ON BEHALF OF THE NORTH CAROLINA CLASS)

       363.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       364.   Defendants entered into a contract or combination in the form of trust or

otherwise, or conspiracy in restraint of trade or commerce in the beef market, a substantial

part of which occurred within North Carolina.

       365.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of affecting

competition or controlling, fixing, or maintaining prices, a substantial part of which

occurred within North Carolina.

       366.   Defendants’ unlawful conduct substantially affected North Carolina’s trade

and commerce.

       367.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Carolina Class have been injured in their business or property

and are threatened with further injury.




                                           - 113 -
       368.    By reason of the foregoing, plaintiffs and members of the North Carolina

Class are entitled to seek all forms of relief available, including treble damages, under N.C.

Gen. Stat. § 75-1, et seq.

                NINETEENTH CLAIM FOR RELIEF
VIOLATION OF THE NORTH DAKOTA UNIFORM STATE ANTITRUST ACT,
                N.D. CENT. CODE § 51-08.1, ET SEQ.
           (ON BEHALF OF THE NORTH DAKOTA CLASS)

       369.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       370.    The North Dakota Uniform State Antitrust Act generally prohibits restraints

on or monopolization of trade. N.D. Cent. Code § 51-08.1, et seq.

       371.    Plaintiffs purchased beef within the State of North Dakota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       372.    Under the North Dakota Uniform State Antitrust Act, indirect purchasers

have standing to maintain an action based on the facts alleged in this Complaint. N.D. Cent.

Code § 51-08.1-08.

       373.    Defendants contracted, combined or conspired in restraint of, or to

monopolize trade or commerce in the market for beef, and established, maintained, or used

a monopoly, or attempted to do so, for the purposes of excluding competition or

controlling, fixing or maintaining prices for beef, in violation of N.D. Cent. Code §§ 51-

08.1-02, 03.




                                            - 114 -
       374.   Plaintiffs and members of the North Dakota Class were injured with respect

to purchases in North Dakota and are entitled to all forms of relief, including actual

damages, treble damages for flagrant violations, costs, reasonable attorneys’ fees, and

injunctive or other equitable relief.

                      TWENTIETH CLAIM FOR RELIEF
                VIOLATION OF THE OREGON ANTITRUST LAW,
                      OR. REV. STAT. § 646.705, ET SEQ.
                    (ON BEHALF OF THE OREGON CLASS)

       375.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       376.   Chapter 646 of the Oregon Revised Statutes generally governs business and

trade practices within Oregon. Sections 705 through 899 thereof govern antitrust violations,

with the policy to “encourage free and open competition in the interest of the general

welfare and economy of the state.” Or. Rev. Stat. § 646.715.

       377.   Plaintiffs purchased beef within the State of Oregon during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       378.   Under Oregon law, indirect purchasers have standing under the antitrust

provisions of the Oregon Revised Statutes to maintain an action based on the facts alleged

in this Complaint. Or. Rev. Stat. § 646.780(1)(a).

       379.   Defendants contracted, combined, or conspired in restraint of trade or

commerce of beef, and monopolized or attempted to monopolize the trade or commerce of

beef, in violation of Or. Rev. Stat. § 646.705, et seq.



                                            - 115 -
       380.    Plaintiffs and members of the Oregon Class were injured with respect to

purchases of beef within the intrastate commerce of Oregon, or alternatively to interstate

commerce involving actual or threatened injury to persons located in Oregon, and are

entitled to all forms of relief, including actual damages, treble damages, reasonable

attorneys’ fees, expert witness fees and investigative costs, and injunctive relief.

                      TWENTY-FIRST CLAIM FOR RELIEF
              VIOLATION OF THE RHODE ISLAND ANTITRUST ACT,
                        R.I. GEN LAWS § 6-36-1, ET SEQ.
                  (ON BEHALF OF THE RHODE ISLAND CLASS)

       381.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       382.    The Rhode Island Antitrust Act aims to promote the unhampered growth of

commerce and industry throughout Rhode Island by prohibiting unreasonable restraints of

trade and monopolistic practices that hamper, prevent or decrease competition. R.I. Gen.

Laws § 636-2(a)(2).

       383.    Plaintiffs purchased beef within the State of Rhode Island during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       384.    Under the Rhode Island Antitrust Act, as of January 1, 2008, indirect

purchasers have standing to maintain an action based on the facts alleged in this Complaint.

R.I. Gen. Laws § 6-36-11(a). In Rhode Island, the claims of plaintiffs and the Class alleged

herein run from January 1, 2008, through the date that the effects of defendants’

anticompetitive conduct cease.



                                            - 116 -
          385.   Defendants contracted, combined and conspired in restraint of trade of beef

within the intrastate commerce of Rhode Island, and established, maintained or used, or

attempted to establish, maintain or use, a monopoly in the trade of beef for the purpose of

excluding competition or controlling, fixing or maintaining prices within the intrastate

commerce of Rhode Island, in violation of R.I. Gen. Laws § 6-36-1, et seq.

          386.   Plaintiffs and members of the Rhode Island Class were injured with respect

to purchases of beef in Rhode Island and are entitled to all forms of relief, including actual

damages, treble damages, reasonable costs, reasonable attorneys’ fees, and injunctive

relief.

                   TWENTY-SECOND CLAIM FOR RELIEF
           VIOLATION OF THE SOUTH DAKOTA ANTITRUST STATUTE,
                   S.D. CODIFIED LAWS § 37-1-3.1, ET SEQ.
                (ON BEHALF OF THE SOUTH DAKOTA CLASS)

          387.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

          388.   Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of trade,

monopolies and discriminatory trade practices. S.D. Codified Laws §§ 37-1- 3.1, 3.2.

          389.   Plaintiffs purchased beef within the State of South Dakota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

          390.   Under South Dakota law, indirect purchasers have standing under the

antitrust provisions of the South Dakota Codified Laws to maintain an action based on the

facts alleged in this Complaint. S.D. Codified Laws § 37-1-33.



                                              - 117 -
       391.    Defendants contracted, combined or conspired in restraint of trade or

commerce of beef within the intrastate commerce of South Dakota, and monopolized or

attempted to monopolize trade or commerce of beef within the intrastate commerce of

South Dakota, in violation of S.D. Codified Laws § 37-1, et seq.

       392.    Plaintiffs and members of the South Dakota Class were injured with respect

to purchases of beef in South Dakota and are entitled to all forms of relief, including actual

damages, treble damages, taxable costs, reasonable attorneys’ fees, and injunctive or other

equitable relief.

                  TWENTY-THIRD CLAIM FOR RELIEF
          VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT,
                    TENN. CODE, § 47-25-101, ET SEQ.
                (ON BEHALF OF THE TENNESSEE CLASS)

       393.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       394.    The Tennessee Trade Practices Act generally governs commerce and trade

in Tennessee, and it prohibits, inter alia, all arrangements, contracts, agreements, or

combinations between persons or corporations made with a view to lessen, or which tend

to lessen, full and free competition in goods in Tennessee. All such arrangements,

contracts, agreements, or combinations between persons or corporations designed, or

which tend, to increase the prices of any such goods, are against public policy, unlawful,

and void. Tenn. Code, § 47-25-101.




                                            - 118 -
       395.   Defendants competed unfairly and colluded by meeting to fix prices, divide

markets, and otherwise restrain trade as set forth herein, in violation of Tenn. Code, § 47-

25-101, et seq.

       396.   Defendant’s conduct violated the Tennessee Trade Practice Act because it

was an arrangement, contract, agreement, or combination to lessen full and free

competition in goods in Tennessee, and because it tended to increase the prices of goods

in Tennessee. Specifically, defendants’ combination or conspiracy had the following

effects: (1) price competition for beef was restrained, suppressed, and eliminated

throughout Tennessee; (2) prices for beef were raised, fixed, maintained and stabilized at

artificially high levels throughout Tennessee; (3) plaintiffs and the Tennessee Class were

deprived of free and open competition; and (4) plaintiffs and the Tennessee Class paid

supra-competitive, artificially inflated prices for beef.

       397.   During the Class Period, defendants’ illegal conduct had a substantial effect

on Tennessee commerce as beef was sold in Tennessee.

       398.   Plaintiffs and the Tennessee Class purchased beef within the State of

Tennessee during the Class Period. But for defendants’ conduct set forth herein, the price

per pound of beef would have been lower, in an amount to be determined at trial. As a

direct and proximate result of defendants’ unlawful conduct, plaintiffs and the Tennessee

Class have been injured in their business and property and are threatened with further injury

       399.   Under Tennessee law, indirect purchasers (such as plaintiffs and the

Tennessee Class) have standing under the Tennessee Trade Practice Acts to maintain an

action based on the facts alleged in this Complaint.

                                            - 119 -
       400.   Plaintiffs and members of the Tennessee Class were injured with respect to

purchases of beef in Tennessee and are entitled to all forms of relief available under the

law, including return of the unlawful overcharges that they paid on their purchases,

damages, equitable relief, and reasonable attorneys’ fees.

                    TWENTY-FOURTH CLAIM FOR RELIEF
                  VIOLATION OF THE UTAH ANTITRUST ACT,
                     UTAH CODE ANN. §§ 76-10-911, ET SEQ.
                      (ON BEHALF OF THE UTAH CLASS)

       401.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       402.   The Utah Antitrust Act aims to “encourage free and open competition in the

interest of the general welfare and economy of this state by prohibiting monopolistic and

unfair trade practices, combinations and conspiracies in restraint of trade or commerce . . .

.” Utah Code Ann. § 76-10-3102.

       403.   Plaintiffs purchased beef within the State of Utah during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       404.   Under the Utah Antitrust Act, indirect purchasers who are either Utah

residents or Utah citizens have standing to maintain an action based on the facts alleged in

this Complaint. Utah Code Ann. § 76-10-3109(1)(a).

       405.   Defendants contracted, combined or conspired in restraint of trade or

commerce of beef, and monopolized or attempted to monopolize trade or commerce of

beef, in violation of Utah Code Ann. § 76-10-3101, et seq.



                                           - 120 -
       406.    Plaintiffs and members of the Utah Class who are either Utah residents or

Utah citizens were injured with respect to purchases of beef in Utah and are entitled to all

forms of relief, including actual damages, treble damages, costs of suit, reasonable

attorneys’ fees, and injunctive relief.

                      TWENTY-FIFTH CLAIM FOR RELIEF
              VIOLATION OF THE WEST VIRGINIA ANTITRUST ACT,
                         W. VA. CODE §47-18-1, ET SEQ.
                  (ON BEHALF OF THE WEST VIRGINIA CLASS)

       407.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       408.    The violations of federal antitrust law set forth above also constitute

violations of section 47-18-1 of the West Virginia Code.

       409.    During the Class Period, defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy in unreasonable restraint of trade and

commerce and other anticompetitive conduct alleged above in violation of W. Va. Code §

47-18-1, et seq.

       410.    Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the West Virginia Antitrust Act.

       411.    As a direct and proximate result of defendants’ unlawful conduct, plaintiffs

and members of the West Virginia Class have been injured in their business and property

in that they paid more for beef than they otherwise would have paid in the absence of

defendants’ unlawful conduct. As a result of defendants’ violation of Section 47-18-3 of

the West Virginia Antitrust Act, plaintiffs and members of the West Virginia Class seek



                                            - 121 -
treble damages and their cost of suit, including reasonable attorneys’ fees, pursuant to

section 47-18-9 of the West Virginia Code.

                     TWENTY-SIXTH CLAIM FOR RELIEF
               VIOLATION OF THE WISCONSIN ANTITRUST ACT,
                      WIS. STAT. ANN. § 133.01(1), ET SEQ.
                   (ON BEHALF OF THE WISCONSIN CLASS)

       412.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       413.   Chapter 133 of the Wisconsin Statutes governs trust and monopolies, with

the intent “to safeguard the public against the creation or perpetuation of monopolies and

to foster and encourage competition by prohibiting unfair and discriminatory business

practices which destroy or hamper competition.” Wis. Stat. § 133.01.

       414.   Plaintiffs purchased beef within the State of Wisconsin during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of beef would

have been lower, in an amount to be determined at trial.

       415.   Under Wisconsin law, indirect purchasers have standing under the antitrust

provisions of the Wisconsin Statutes to maintain an action based on the facts alleged in this

Complaint. Wis. Stat. 133.18(a).

       416.   Defendants contracted, combined or conspired in restraint of trade or

commerce of beef, and monopolized or attempted to monopolize the trade or commerce of

beef, with the intention of injuring or destroying competition therein, in violation of Wis.

Stat. § 133.01, et seq.




                                           - 122 -
       417.   Plaintiffs and members of the Wisconsin Class were injured with respect to

purchases of beef in Wisconsin in that the actions alleged herein substantially affected the

people of Wisconsin, with at least thousands of consumers in Wisconsin paying

substantially higher prices for defendants’ beef in Wisconsin.

       418.   Accordingly, plaintiffs and members of the Wisconsin Class are entitled to

all forms of relief, including actual damages, treble damages, costs and reasonable

attorneys’ fees, and injunctive relief.

       419.   Defendants’ and their co-conspirators’ anticompetitive activities have

directly, foreseeably and proximately caused injury to the Wisconsin Class. Their injuries

consist of: (1) being denied the opportunity to purchase lower-priced beef from defendants,

and (2) paying higher prices for defendants’ beef than they would have in the absence of

defendants’ conduct. These injuries are of the type of the laws of Wisconsin were designed

to prevent, and flow from that which makes defendants’ conduct unlawful.

       420.   Defendants are jointly and severally liable for all damages suffered by

plaintiffs and members of the Wisconsin Class.

          VIOLATIONS OF STATE CONSUMER PROTECTION LAWS

       421.   Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

       422.   The following claims for relief are pled under the consumer protection or

similar laws of each jurisdiction identified below, on behalf of the indicated class.




                                           - 123 -
                 TWENTY-SEVENTH CLAIM FOR RELIEF
        VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
           CAL. BUS. & PROF. CODE § 17200, ET SEQ. (THE “UCL”)
                (ON BEHALF OF THE CALIFORNIA CLASS)

       423.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       424.   The violations of federal antitrust law set forth above also constitute

violations of section 17200, et seq. of California Business and Professions Code.

       425.   Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of the UCL by engaging in the acts

and practices specified above.

       426.   This claim is instituted pursuant to sections 17203 and 17204 of California

Business and Professions Code, to obtain restitution from these defendants for acts, as

alleged herein, that violated the UCL.

       427.   The defendants’ conduct as alleged herein violated the UCL. The acts,

omissions, misrepresentations, practices and non-disclosures of defendants, as alleged

herein, constituted a common, continuous, and continuing course of conduct of unfair

competition by means of unfair, unlawful, and/or fraudulent business acts or practices

within the meaning of the UCL, including, but not limited to, the violations of section

16720, et seq., of California Business and Professions Code, set forth above.

       428.   Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures, as described above, whether or not in violation of section 16720, et seq., of




                                           - 124 -
California Business and Professions Code, and whether or not concerted or independent

acts, are otherwise unfair, unconscionable, unlawful or fraudulent.

       429.   Plaintiffs and members of the California Class are entitled to full restitution

and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may

have been obtained by defendants as a result of such business acts or practices.

       430.   The illegal conduct alleged herein is continuing and there is no indication

that defendants will not continue such activity into the future.

       431.   The unlawful and unfair business practices of defendants, and each of them,

as described above, have caused and continue to cause plaintiffs and the members of the

California Class to pay supra-competitive and artificially inflated prices for beef sold in the

State of California. Plaintiffs and the members of the California Class suffered injury in

fact and lost money or property as a result of such unfair competition.

       432.   As alleged in this Complaint, defendants and their co-conspirators have been

unjustly enriched as a result of their wrongful conduct and by defendants’ unfair

competition. Plaintiffs and the members of the California Class are accordingly entitled to

equitable relief including restitution and/or disgorgement of all revenues, earnings, profits,

compensation, and benefits that may have been obtained by defendants as a result of such

business practices, pursuant to California Business and Professions Code sections 17203

and 17204.




                                            - 125 -
              TWENTY-EIGHTH CLAIM FOR RELIEF
VIOLATION OF THE DISTRICT OF COLUMBIA CONSUMER PROTECTION
                       PROCEDURES ACT,
                  D.C. CODE § 28-3901, ET SEQ.
       (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

       433.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       434.   Plaintiffs and members of the District of Columbia Class purchased beef for

personal, family, or household purposes.

       435.   By reason of the conduct alleged herein, defendants have violated D.C. Code

§ 28-3901, et seq.

       436.   Defendants are “merchants” within the meaning of D.C. Code § 28-

3901(a)(3).

       437.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the Beef market, a

substantial part of which occurred within the District of Columbia.

       438.   Defendant established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within the District of Columbia, for the purpose of excluding competition or

controlling, fixing, or maintaining prices in the Beef Market.

       439.   Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the District of Columbia.

       440.   Defendants’ unlawful conduct substantially affected the District of

Columbia’s trade and commerce.

                                           - 126 -
       441.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the District of Columbia Class have been injured in their business or

property and are threatened with further injury.

       442.   By reason of the foregoing, plaintiffs and members of the District of

Columbia Class are entitled to seek all forms of relief, including treble damages or $1500

per violation (whichever is greater) plus punitive damages, reasonable attorney’s fees and

costs under D.C. Code § 28-3901, et seq.

                    TWENTY-NINTH CLAIM FOR RELIEF
                VIOLATION OF THE FLORIDA DECEPTIVE AND
                     UNFAIR TRADE PRACTICES ACT,
                      FLA. STAT. § 501.201(2), ET SEQ.
                   (ON BEHALF OF THE FLORIDA CLASS)

       443.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       444.   The Florida Deceptive & Unfair Trade Practices Act, Florida Stat. §§

501.201, et seq. (the “FDUTPA”), generally prohibits “unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of

any trade or commerce,” including practices in restraint of trade. Florida Stat. § 501.204(1).

       445.   The primary policy of the FDUTPA is “[t]o protect the consuming public and

legitimate business enterprises from those who engage in unfair methods of competition,

or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce.” Florida Stat. § 501.202(2).

       446.   A claim for damages under the FDUTPA has three elements: (1) a prohibited

practice; (2) causation; and (3) actual damages.

                                            - 127 -
       447.   Under Florida law, indirect purchasers have standing to maintain an action

under the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. § 501.211(a)

(“anyone aggrieved by a violation of this [statute] may bring an action . . .”).

       448.   Plaintiffs purchased beef within the State of Florida during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of beef would have been

lower, in an amount to be determined at trial.

       449.   Defendants entered into a contract, combination or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within Florida.

       450.   Defendants established, maintained or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the market for beef, for the purpose of

excluding competition or controlling, fixing or maintaining prices in Florida at a level

higher than the competitive market level, beginning at least as early as 2008 and continuing

through the date of this filing.

       451.   Accordingly, defendants’ conduct was an unfair method of competition, and

an unfair or deceptive act or practice within the conduct of commerce within the State of

Florida.

       452.   Defendants’ unlawful conduct substantially affected Florida’s trade and

commerce.

       453.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Florida Class have been injured in their business or property by

virtue of overcharges for beef and are threatened with further injury.

                                            - 128 -
       454.   By reason of the foregoing, plaintiffs and the members of the Florida Class

is entitled to seek all forms of relief, including injunctive relief pursuant to Florida Stat.

§501.208 and declaratory judgment, actual damages, reasonable attorneys’ fees and costs

pursuant to Florida Stat. § 501.211.

                 THIRTIETH CLAIM FOR RELIEF
 VIOLATION OF THE HAWAII REVISED STATUTES ANNOTATED §§ 480-1,
                           ET SEQ.
                 (ON BEHALF OF HAWAII CLASS)

       455.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       456.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-

1, et seq.

       457.   Defendants’ unlawful conduct had the following effects: (1) beef price

competition was restrained, suppressed, and eliminated throughout Hawaii; (2) beef prices

were, fixed, maintained, and stabilized at artificially high levels throughout Hawaii; (3)

plaintiffs and members of the Hawaii Class were deprived of free and open competition;

and (4) plaintiffs and members of the Hawaii Class paid supra-competitive, artificially

inflated prices for beef.

       458.   During the Class Period, Defendants’ illegal conduct substantially affected

Hawaii commerce and consumers.

       459.   As a direct and proximate result of Defendants’ unlawful conduct, plaintiffs

and members of the Hawaii Class have been injured and are threatened with further injury.



                                            - 129 -
                 THIRTY-FIRST CLAIM FOR RELIEF
   VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE
                     BUSINESS PRACTICES ACT,
             815 ILL. COMP. STAT. ANN. 505/10A, ET SEQ.
               (ON BEHALF OF THE ILLINOIS CLASS)

       460.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       461.   By reason of the conduct alleged herein, defendants have violated 740 Ill.

Comp. Stat. Ann. 10/3(1), et seq.

       462.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within Illinois.

       463.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Illinois, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the beef market.

       464.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Illinois.

       465.   Defendants’ conduct misled consumers, withheld material facts, and resulted

in material misrepresentations to plaintiffs and members of the classes.

       466.   Defendants’ unlawful conduct substantially affected Illinois’s trade and

commerce.




                                           - 130 -
       467.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Illinois Class were actually deceived and have been injured in their

business or property and are threatened with further injury.

       468.   By reason of the foregoing, plaintiffs and members of the Illinois Class are

entitled to seek all forms of relief, including actual damages or any other relief the Court

deems proper under 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

               THIRTY-SECOND CLAIM FOR RELIEF
 VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
              MASS. GEN. LAWS CH. 93A § 1, ET SEQ.
          (ON BEHALF OF THE MASSACHUSETTS CLASS)

       469.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       470.   Plaintiffs reserve their right to bring a claim under Mass. Gen. Laws Ch. 93A

et seq. Pursuant to Mass. Gen. Laws Ch. 93A § 9, plaintiffs served all defendants on April

26, 2019, via certified mail, return receipt requested, Demand for Payment Letters. In

accordance with the statute, these letters explained the unfair acts, the injury suffered, and

requested relief from the defendants within 30 days. If necessary, plaintiffs will amend to

add specific claims under Mass. Gen. Laws Ch. 93A et seq.

                 THIRTY-THIRD CLAIM FOR RELIEF
      VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT,
              MICH. COMP. LAWS ANN. § 445.901, ET SEQ.
               (ON BEHALF OF THE MICHIGAN CLASS)

       471.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




                                            - 131 -
       472.   By reason of the conduct alleged herein, defendants have violated Mich.

Comp. Laws Ann. § 445.901, et seq.

       473.   Defendants have entered into a contract, combination, or conspiracy between

two or more persons in restraint of, or to monopolize, trade or commerce in the beef market,

a substantial part of which occurred within Michigan.

       474.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of excluding

or limiting competition or controlling or maintaining prices, a substantial part of which

occurred within Michigan.

       475.   Defendants’ conduct was conducted with the intent to deceive Michigan

consumers regarding the nature of defendants’ actions within the stream of Michigan

commerce.

       476.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Michigan.

       477.   Defendants’ conduct misled consumers, withheld material facts, and took

advantage of plaintiffs and members-of-the-classes’ inability to protect themselves.

       478.   Defendants’ unlawful conduct substantially affected Michigan’s trade and

commerce.

       479.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Michigan Class have been injured in their business or property and are

threatened with further injury.




                                           - 132 -
       480.   By reason of the foregoing, plaintiffs and the Michigan Class are entitled to

seek all forms of relief available under Mich. Comp. Laws Ann. § 445.911.

                  THIRTY-FOURTH CLAIM FOR RELIEF
         VIOLATION OF THE MINNESOTA CONSUMER FRAUD ACT,
                     MINN. STAT. § 325F.68, ET SEQ.
                (ON BEHALF OF THE MINNESOTA CLASS)

       481.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       482.   By reason of the conduct alleged herein, defendants have violated Minn. Stat.

§ 325F.68, et seq.

       483.   Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

       484.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Minnesota, for the purpose of controlling, fixing, or maintaining prices in

the beef market.

       485.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Minnesota.

       486.   Defendants’ conduct, specifically in the form of fraudulent concealment of

their horizontal agreement, created a fraudulent or deceptive act or practice committed by

a supplier in connection with a consumer transaction.

       487.   Defendants’ unlawful conduct substantially affected Minnesota’s trade and

commerce.



                                           - 133 -
       488.    Defendants’ conduct was willful.

       489.    As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Minnesota Class have been injured in their business or property

and are threatened with further injury.

       490.    By reason of the foregoing, plaintiffs and the members of the Minnesota

Class are entitled to seek all forms of relief, including damages, reasonable attorneys’ fees

and costs under Minn. Stat. § 325F.68, et seq. and applicable case law.

                  THIRTY- FIFTH CLAIM FOR RELIEF
      VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES AND
                CONSUMER PROTECTION ACT OF 1970,
        MONT. CODE, §§ 30-14-103, ET SEQ., AND §§ 30-14-201, ET. SEQ.
                (ON BEHALF OF THE MONTANA CLASS)

       491.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       492.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Unfair Trade Practices and

Consumer Protection Act of 1970, Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201,

et. seq.

       493.    Defendants’ unlawful conduct had the following effects: (1) beef price

competition was restrained, suppressed, and eliminated throughout Montana; (2) beef

prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

Montana; (3) plaintiffs and members of the Montana Class were deprived of free and open

competition; and (4) plaintiffs and members of the Montana Class paid supra-competitive,

artificially inflated prices for beef.

                                            - 134 -
       494.     During the Class Period, defendants’ illegal conduct substantially affected

Montana commerce and consumers.

       495.     As a direct and proximate result of defendants’ unlawful conduct, plaintiffs

and members of the Montana Class have been injured and are threatened with further

injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201, et. seq., and,

accordingly, plaintiffs and members of the Montana Class seek all relief available under

that statute.

                 THIRTY-SIXTH CLAIM FOR RELIEF
      VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT,
                  NEB. REV. STAT. § 59-1602, ET SEQ.
               (ON BEHALF OF THE NEBRASKA CLASS)

       496.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       497.     By reason of the conduct alleged herein, defendants have violated Neb. Rev.

Stat. § 59-1602, et seq.

       498.     Defendants have entered into a contract, combination, or conspiracy between

two or more persons in restraint of, or to monopolize, trade or commerce in the beef market,

a substantial part of which occurred within Nebraska.

       499.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of excluding

or limiting competition or controlling or maintaining prices, a substantial part of which

occurred within Nebraska.



                                             - 135 -
       500.   Defendants’ conduct was conducted with the intent to deceive Nebraska

consumers regarding the nature of defendants’ actions within the stream of Nebraska

commerce.

       501.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Nebraska.

       502.   Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs and members of the Nevada Class’s ability to

protect themselves.

       503.   Defendants’ unlawful conduct substantially affected Nebraska’s trade and

commerce.

       504.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Nebraska Class have been injured in their business or property and

are threatened with further injury.

       505.   By reason of the foregoing, plaintiffs and members of the Nebraska Class are

entitled to seek all forms of relief available under Neb. Rev. Stat. § 59- 1614.

               THIRTY-SEVENTH CLAIM FOR RELIEF
    VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT,
                 NEV. REV. STAT. § 598.0903, ET SEQ.
               (ON BEHALF OF THE NEVADA CLASS)

       506.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       507.   By reason of the conduct alleged herein, defendants have violated Nev. Rev.

Stat. § 598.0903, et seq.



                                           - 136 -
       508.   Defendants engaged in a deceptive trade practice with the intent to injure

competitors and to substantially lessen competition.

       509.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Nevada, for the purpose of excluding competition or controlling, fixing,

or maintaining prices in the beef market.

       510.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Nevada.

       511.   Defendants’ conduct amounted to a fraudulent act or practice committed by

a supplier in connection with a consumer transaction.

       512.   Defendants’ unlawful conduct substantially affected Nevada’s trade and

commerce.

       513.   Defendants’ conduct was willful.

       514.   As a direct and proximate cause of defendants’ unlawful conduct, the

members of the Nevada Class have been injured in their business or property and are

threatened with further injury.

       515.   By reason of the foregoing, the Nevada Class is entitled to seek all forms of

relief, including damages, reasonable attorneys’ fees and costs, and a civil penalty of up to

$5,000 per violation under Nev. Rev. Stat. § 598.0993.




                                            - 137 -
               THIRTY-EIGHTH CLAIM FOR RELIEF
 VIOLATION OF THE NEW HAMPSHIRE CONSUMER PROTECTION ACT,
          N.H. REV. STAT. ANN. TIT. XXXI, § 358-A, ET SEQ.
          (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

       516.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       517.   By reason of the conduct alleged herein, defendants have violated N.H. Rev.

Stat. Ann. tit. XXXI, § 358-A, et seq.

       518.   Defendants have entered into a contract, combination, or conspiracy between

two or more persons in restraint of, or to monopolize, trade or commerce in the beef market,

a substantial part of which occurred within New Hampshire.

       519.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of excluding

or limiting competition or controlling or maintaining prices, a substantial part of which

occurred within New Hampshire.

       520.   Defendants’ conduct was conducted with the intent to deceive New

Hampshire consumers regarding the nature of defendants’ actions within the stream of New

Hampshire commerce.

       521.   Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of New Hampshire.

       522.   Defendants’ conduct was willful and knowing.




                                           - 138 -
       523.   Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs and members of the New Hampshire Class’s ability

to protect themselves.

       524.   Defendants’ unlawful conduct substantially affected New Hampshire’s trade

and commerce.

       525.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the New Hampshire Class have been injured in their business or

property and are threatened with further injury.

       526.   By reason of the foregoing, plaintiffs and the members of the New

Hampshire Class are entitled to seek all forms of relief available under N.H. Rev. Stat.

Ann. tit. XXXI, §§ 358-A:10 and 358-A:10-a.

                 THIRTY-NINTH CLAIM FOR RELIEF
       VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT,
                  N.M. STAT. ANN. §§ 57-12-3, ET SEQ.
              (ON BEHALF OF THE NEW MEXICO CLASS)

       527.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       528.   By reason of the conduct alleged herein, defendants have violated N.M. Stat.

Ann. §§ 57-12-3, et seq.

       529.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within New Mexico.




                                           - 139 -
       530.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within New Mexico, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the beef market.

       531.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of New Mexico.

       532.   Defendants’ conduct misled consumers, withheld material facts, and resulted

in material misrepresentations to plaintiffs and members of the New Mexico Class.

       533.   Defendants’ unlawful conduct substantially affected New Mexico’s trade

and commerce.

       534.   Defendants’ conduct constituted “unconscionable trade practices” in that

such conduct, inter alia, resulted in a gross disparity between the value received by the New

Mexico Class members and the price paid by them for beef as set forth in N.M. Stat. Ann.

§ 57-12-2E.

       535.   Defendants’ conduct was willful.

       536.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the New Mexico Class have been injured in their business or property

and are threatened with further injury.

       537.   By reason of the foregoing, plaintiffs and members of the New Mexico Class

are entitled to seek all forms of relief, including actual damages or up to $300 per violation,

whichever is greater, plus reasonable attorney’s fees under N.M. Stat. Ann. §§ 57-12-10.




                                            - 140 -
                 FORTIETH CLAIM FOR RELIEF
 VIOLATION OF THE NORTH CAROLINA UNFAIR TRADE AND BUSINESS
                        PRACTICES ACT,
                 N.C. GEN. STAT. § 75-1.1, ET SEQ.
          (ON BEHALF OF THE NORTH CAROLINA CLASS)

       538.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       539.    By reason of the conduct alleged herein, defendants have violated N.C. Gen.

Stat. § 75-1.1, et seq.

       540.    Defendants entered into a contract, combination, or conspiracy in restraint

of, or to monopolize, trade or commerce in the beef market, a substantial part of which

occurred within North Carolina.

       541.    Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of North Carolina.

       542.    Defendants’ trade practices are and have been immoral, unethical,

unscrupulous, and substantially injurious to consumers.

       543.    Defendants’ conduct misled consumers, withheld material facts, and resulted

in material misrepresentations to plaintiffs and members of the North Carolina Class.

       544.    Defendants’ unlawful conduct substantially affected North Carolina’s trade

and commerce.

       545.    Defendants’ conduct constitutes consumer-oriented deceptive acts or

practices within the meaning of North Carolina law, which resulted in consumer injury and

broad adverse impact on the public at large, and harmed the public interest of North




                                            - 141 -
Carolina consumers in an honest marketplace in which economic activity is conducted in

a competitive manner.

       546.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Carolina Class have been injured in their business or property

and are threatened with further injury.

       547.   By reason of the foregoing, plaintiffs and the members of the North Carolina

Class are entitled to seek all forms of relief, including treble damages under N.C. Gen. Stat.

§ 7516.

                FORTY-FIRST CLAIM FOR RELIEF
 VIOLATION OF THE NORTH DAKOTA UNFAIR TRADE PRACTICES LAW,
                 N.D. CENT. CODE § 51-10, ET SEQ.
           (ON BEHALF OF THE NORTH DAKOTA CLASS)

       548.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       549.   By reason of the conduct alleged herein, defendants have violated N.D. Cent.

Code § 51-10-01, et seq.

       550.   Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

       551.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within North Dakota, for the purpose of controlling, fixing, or maintaining prices

in the beef market.




                                            - 142 -
       552.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of North Dakota.

       553.   Defendants’ conduct amounted to a fraudulent or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

       554.   Defendants’ unlawful conduct substantially affected North Dakota’s trade

and commerce.

       555.   Defendants’ conduct was willful.

       556.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Dakota Class have been injured in their business or property

and are threatened with further injury.

       557.   By reason of the foregoing, plaintiffs and the members of the North Dakota

Class are entitled to seek all forms of relief, including damages and injunctive relief under

N.D. Cent. Code § 51-10-06.

               FORTY-SECOND CLAIM FOR RELIEF
   VIOLATION OF THE OREGON UNLAWFUL TRADE PRACTICES ACT,
                 OR. REV. STAT. § 646.605, ET SEQ.
              (ON BEHALF OF THE OREGON CLASS)

       558.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       559.   By reason of the conduct alleged herein, defendants have violated Or. Rev.

Stat. § 646.608, et seq.




                                           - 143 -
       560.   Defendants have entered into a contract, combination, or conspiracy between

two or more persons in restraint of, or to monopolize, trade or commerce in the beef market,

a substantial part of which occurred within Oregon.

       561.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of excluding

or limiting competition or controlling or maintaining prices, a substantial part of which

occurred within Oregon.

       562.   Defendants’ conduct was conducted with the intent to deceive Oregon

consumers regarding the nature of defendants’ actions within the stream of Oregon

commerce.

       563.   Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of Oregon.

       564.   Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs’ and members of the Oregon Class’s ability to

protect themselves.

       565.   Defendants’ unlawful conduct substantially affected Oregon’s trade and

commerce.

       566.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Oregon Class have been injured in their business or property and

are threatened with further injury.

       567.   By reason of the foregoing, plaintiffs and the members of the Oregon Class

are entitled to seek all forms of relief available under Or. Rev. Stat. § 646.638.

                                            - 144 -
       568.   Pursuant to section 646.638 of the Oregon Unlawful Trade Practices Act,

with the filing of this action, a copy of this Complaint is being served upon the Attorney

General of Oregon.

                 FORTY-THIRD CLAIM FOR RELIEF
   VIOLATION OF THE RHODE ISLAND DECEPTIVE TRADE PRACTICES
                               ACT,
                  R.I. GEN. LAWS § 6-13.1-1, ET SEQ.
            (ON BEHALF OF THE RHODE ISLAND CLASS)

       569.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       570.   By reason of the conduct alleged herein, defendants have violated R.I. Gen

Laws § 6-13.1-1, et seq.

       571.   Defendants engaged in an unfair or deceptive act or practice with the intent

to injure competitors and consumers through supra-competitive profits.

       572.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Rhode Island, for the purpose of controlling, fixing, or maintaining prices

in the beef market.

       573.   Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of Rhode Island.

       574.   Defendants’ conduct amounted to an unfair or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

       575.   Defendants’ unlawful conduct substantially affected Rhode Island’s trade

and commerce.

                                           - 145 -
       576.   Defendants’ conduct was willful.

       577.   Defendants deliberately failed to disclose material facts to plaintiffs and

members of the Rhode Island Class concerning defendants’ unlawful activities, including

the horizontal conspiracy and artificially-inflated prices for beef.

       578.   Defendants’ deception, including its affirmative misrepresentations and/or

omissions concerning the price of beef, constitutes information necessary to plaintiffs and

members of the Rhode Island Class relating to the cost of beef purchased.

       579.   Plaintiffs and members of the Rhode Island class purchased goods, namely

beef, primarily for personal, family, or household purposes.

       580.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Rhode Island Class have been injured in their business or property

and are threatened with further injury.

       581.   By reason of the foregoing, plaintiffs and the members of the Rhode Island

Class are entitled to seek all forms of relief, including actual damages or $200 per violation,

whichever is greater, and injunctive relief and punitive damages under R.I. Gen Laws § 6-

13.1-5.2.

               FORTY-FOURTH CLAIM FOR RELIEF
  VIOLATION OF THE SOUTH CAROLINA’S UNFAIR TRADE PRACTICES
                              ACT,
                 S.C. CODE ANN. §§ 39-5-10, ET SEQ.
          (ON BEHALF OF THE SOUTH CAROLINA CLASS)

       582.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




                                            - 146 -
       583.   By reason of the conduct alleged herein, defendants have violated S.C. Code

Ann. §§ 39-5-10.

       584.   Defendants have entered into a contract, combination, or conspiracy between

two or more persons in restraint of, or to monopolize, trade or commerce in the beef market,

a substantial part of which occurred within South Carolina.

       585.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, for the purpose of excluding

or limiting competition or controlling or maintaining prices, a substantial part of which

occurred within South Carolina.

       586.   Defendants’ conduct was conducted with the intent to deceive South

Carolina consumers regarding the nature of defendants’ actions within the stream of South

Carolina commerce.

       587.   Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of South Carolina.

       588.   Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs’ and members of the South Carolina Class’s ability

to protect themselves.

       589.   Defendants’ unlawful conduct substantially affected South Carolina trade

and commerce.

       590.   Defendants’ unlawful conduct substantially harmed the public interest of the

State of South Carolina, as nearly all members of the public purchase and consume beef.




                                           - 147 -
                 FORTY-FIFTH CLAIM FOR RELIEF
  VIOLATION OF THE SOUTH DAKOTA DECEPTIVE TRADE PRACTICES
               AND CONSUMER PROTECTION LAW,
                S.D. CODIFIED LAWS § 37-24, ET SEQ.
           (ON BEHALF OF THE SOUTH DAKOTA CLASS)

       591.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       592.   By reason of the conduct alleged herein, defendants have violated S.D.

Codified Laws § 37-24-6.

       593.   Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

       594.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within South Dakota, for the purpose of controlling, fixing, or maintaining prices

in the beef market.

       595.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of South Dakota.

       596.   Defendants’ conduct amounted to a fraudulent or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

       597.   Defendants’ unlawful conduct substantially affected South Dakota’s trade

and commerce.

       598.   Defendants’ conduct was willful.




                                           - 148 -
       599.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the South Dakota Class have been injured in their business or property

and are threatened with further injury.

       600.   By reason of the foregoing, plaintiffs and the members of the South Dakota

Class are entitled to seek all forms of relief, including actual damages and injunctive relief

under S.D. Codified Laws § 37-24-31.

                 FORTY-SIXTH CLAIM FOR RELIEF
      VIOLATION OF THE UTAH CONSUMER SALES PRACTICES ACT,
                 UTAH CODE ANN. §§ 13-11-1, ET SEQ.
                 (ON BEHALF OF THE UTAH CLASS)

       601.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       602.   By reason of the conduct alleged herein, defendants have violated Utah Code

Ann. §§ 13-11-1, et seq.

       603.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within Utah.

       604.   Defendants are suppliers within the meaning of Utah Code Ann. §§ 13-11-3.

       605.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Utah, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the beef market.




                                            - 149 -
       606.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Utah.

       607.   Defendants’ conduct and/or practices were unconscionable and were

undertaken in connection with consumer transactions.

       608.   Defendants knew or had reason to know that their conduct was

unconscionable.

       609.   Defendants’ conduct misled consumers, withheld material facts, and resulted

in material misrepresentations to plaintiffs and members of the Utah Class.

       610.   Defendants’ unlawful conduct substantially affected Utah’s trade and

commerce.

       611.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Utah Class have been injured in their business or property and are

threatened with further injury.

       612.   By reason of the foregoing, plaintiffs and the members of the Utah Class are

entitled to seek all forms of relief, including declaratory judgment, injunctive relief, and

ancillary relief, pursuant to Utah Code Ann. §§ 13-11-19(5) and 13-11-20.

                   FORTY-SEVENTH CLAIM FOR RELIEF
              VIOLATION OF THE UTAH UNFAIR PRACTICES ACT,
                     UTAH CODE ALL. §§ 13-5-1, ET SEQ.
                     (ON BEHALF OF THE UTAH CLASS)

       613.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




                                           - 150 -
       614.   By reason of the conduct alleged herein, defendants have violated Utah Code

Ann. §§ 13-5-1, et seq.

       615.   Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the beef market, a

substantial part of which occurred within Utah.

       616.   Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the beef market, a substantial part of which

occurred within Utah, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the beef market.

       617.   Defendants’ conduct caused or was intended to cause unfair methods of

competition within the State of Utah.

       618.   Defendants’ unlawful conduct substantially affected Utah’s trade and

commerce.

       619.   As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Utah Class have been injured in their business or property and are

threatened with further injury.

       620.   By reason of the foregoing, plaintiffs and the members of the Utah Class are

entitled to seek all forms of relief, including actual damages or $2000 per Utah Class

member, whichever is greater, plus reasonable attorney’s fees under Utah Code Ann. §§

13-5-14, et seq.




                                          - 151 -
        FORTY-EIGHTH CLAIM FOR RELIEF UNJUST ENRICHMENT

       621.   Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

       622.   As a result of their unlawful conduct described above, defendants have and

will continued to be unjustly enriched by the receipt of unlawfully inflated prices and

unlawful profits of beef.

       623.   Under common law principles of unjust enrichment, defendants should not

be permitted to retain the benefits conferred on them by overpayments by plaintiffs and

members of the classes in the following states: Arizona, California, District of Columbia,

Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,

Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, North

Carolina, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, West

Virginia, and Wisconsin.

                            X.     REQUEST FOR RELIEF

       WHEREFORE, plaintiffs, on behalf of themselves and the classes of all others so

similarly situated, respectfully requests judgment against defendants as follows:

       624.   The Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint

plaintiffs as Class Representatives and their counsel of record as Class Counsel, and direct

that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

Procedure, be given to the Class, once certified;




                                           - 152 -
       625.    The unlawful conduct, conspiracy or combination alleged herein be adjudged

and decreed in violation of Section 1 of the Sherman Act and listed state antitrust laws,

unfair competition laws, state consumer protection laws, and common law;

       626.    Plaintiffs and the Class recover damages, to the maximum extent allowed

under the applicable state laws, and that a joint and several judgments in favor of plaintiffs

and the members of the Classes be entered against defendants in an amount to be trebled

to the extent such laws permit;

       627.    Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining or renewing the conduct,

conspiracy, or combination alleged herein, or from entering into any other conspiracy or

combination having a similar purpose or effect, and from adopting or following any

practice, plan, program, or device having a similar purpose or effect;

       628.    Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining, or renewing the sharing of highly

sensitive competitive information that permits individual identification of company’s

information;




                                            - 153 -
       629.   Plaintiffs and the members of the classes be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from

and after the date of service of this Complaint;

       630.   Plaintiffs and the members of the Classes recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

       631.   Plaintiffs and the members of the Classes have such other and further relief

as the case may require and the Court may deem just and proper.

                            XI.    JURY TRIAL DEMANDED

       632.   Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules

of Civil Procedure, of all issues so triable.

Dated: November 22, 2019

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                                                - 154 -
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- 155 -
